     Case 1:23-cv-00079-ABJ Document 303-1 Filed 07/30/24 Page 1 of 50



                                                                 APPEAL,BENCH,CHEY,PROTO
                               U.S. District Court
                         District of Wyoming (Casper)
                CIVIL DOCKET FOR CASE #: 1:23−cv−00079−ABJ
                               Internal Use Only

BCB Cheyenne LLC v. MineOne Wyoming Data Center LLC et   Date Filed: 05/03/2023
al                                                       Jury Demand: None
Assigned to: Honorable Alan B Johnson                    Nature of Suit: 190 Contract: Other
Referred to: US Magistrate Judge Stephanie A Hambrick    Jurisdiction: Diversity
Case in other court: USCA 10th Circuit, 24−08048
Cause: 28:1332 Diversity−Breach of Contract
Plaintiff
BCB Cheyenne LLC                          represented by Patrick J Murphy
a Wyoming limited liability company                      WILLIAMS PORTER DAY & NEVILLE
doing business as                                        159 North Wolcott, Suite 400
Bison Blockchain                                         P O Box 10700
                                                         Casper, WY 82602
                                                         307/265−0700
                                                         Fax: 307/266−2306
                                                         Email: pmurphy@wpdn.net
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Scott C Murray
                                                         WILLIAMS PORTER DAY & NEVILLE
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                                                         Suite 400
                                                         Casper, WY 82601
                                                         307/265−0700
                                                         Email: smurray@wpdn.net
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED


V.
Defendant
MineOne Wyoming Data Center LLC           represented by Kari Hartman
a Delaware limited liability company                     Hathaway & Kunz, LLP
                                                         2515 Warren Ave.
                                                         Ste 500
                                                         Cheyenne, WY 82001
                                                         307−634−7723
                                                         Email: khartman@hkwyolaw.com
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Paula Colbath

                                                                                               WYD 1
Case 1:23-cv-00079-ABJ Document 303-1 Filed 07/30/24 Page 2 of 50



                                           LOEB & LOEB LLP
                                           345 Park Avenue
                                           New York, NY 10154
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                                           Sean M Larson
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                                           Cheyenne, WY 82001
                                           307/634−7723
                                           Fax: 307/634−0985
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                                           Alex Inman
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                                           ATTORNEY TO BE NOTICED

                                           David A Forrest
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                                           212−407−4877
                                           Fax: 212−202−5408
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                                           PRO HAC VICE
                                           ATTORNEY TO BE NOTICED

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                                           ATTORNEY TO BE NOTICED

                                           Sarah Levitan Perry
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                                           345 Park Avenue
                                           New York, NY 10154
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                                                                           WYD 2
     Case 1:23-cv-00079-ABJ Document 303-1 Filed 07/30/24 Page 3 of 50



                                                   Email: sperry@loeb.com
                                                   TERMINATED: 05/16/2024
                                                   PRO HAC VICE

Defendant
MineOne Partners LLC                   represented by Kari Hartman
a Delaware limited liability company                  (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                   Paula Colbath
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   PRO HAC VICE
                                                   ATTORNEY TO BE NOTICED

                                                   Sean M Larson
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Alex Inman
                                                   (See above for address)
                                                   PRO HAC VICE
                                                   ATTORNEY TO BE NOTICED

                                                   David A Forrest
                                                   (See above for address)
                                                   PRO HAC VICE
                                                   ATTORNEY TO BE NOTICED

                                                   Leily Lashkari
                                                   (See above for address)
                                                   PRO HAC VICE
                                                   ATTORNEY TO BE NOTICED

                                                   Sarah Levitan Perry
                                                   (See above for address)
                                                   TERMINATED: 05/16/2024
                                                   PRO HAC VICE

Defendant
Terra Crypto Inc                       represented by Kari Hartman
a Delaware corporation                                (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                   Paula Colbath
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   PRO HAC VICE


                                                                                WYD 3
     Case 1:23-cv-00079-ABJ Document 303-1 Filed 07/30/24 Page 4 of 50



                                                ATTORNEY TO BE NOTICED

                                                Sean M Larson
                                                (See above for address)
                                                LEAD ATTORNEY
                                                ATTORNEY TO BE NOTICED

                                                Alex Inman
                                                (See above for address)
                                                PRO HAC VICE
                                                ATTORNEY TO BE NOTICED

                                                David A Forrest
                                                (See above for address)
                                                PRO HAC VICE
                                                ATTORNEY TO BE NOTICED

                                                Leily Lashkari
                                                (See above for address)
                                                PRO HAC VICE
                                                ATTORNEY TO BE NOTICED

                                                Sarah Levitan Perry
                                                (See above for address)
                                                TERMINATED: 05/16/2024
                                                PRO HAC VICE

Defendant
Bit Origin Ltd                       represented by Jane Marie France
a Cayman Island company                             SUNDAHL POWERS KAPP & MARTIN
                                                    P O Box 328
                                                    Cheyenne, WY 82003−0328
                                                    307−632−6421
                                                    Fax: 307−632−7216
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                                                    ATTORNEY TO BE NOTICED

                                                Marc S Gottlieb , I
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                                                366 Madison Avenue
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                                                New York, NY 10022−5616
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                                                Fax: 866−294−0074
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                                                LEAD ATTORNEY
                                                PRO HAC VICE
                                                ATTORNEY TO BE NOTICED

                                                Meggan Hathaway

                                                                            WYD 4
     Case 1:23-cv-00079-ABJ Document 303-1 Filed 07/30/24 Page 5 of 50



                                                   SUNDAHL POWERS KAPP & MARTIN
                                                   LLC
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                                                   Suite 200
                                                   Cheyenne, WY 82001
                                                   307−632−6421
                                                   Email: mhathaway@spkm.org
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Alex Inman
                                                   (See above for address)
                                                   TERMINATED: 02/22/2024
                                                   PRO HAC VICE

                                                   Kari Hartman
                                                   (See above for address)
                                                   TERMINATED: 02/22/2024

                                                   Paula Colbath
                                                   (See above for address)
                                                   TERMINATED: 02/22/2024
                                                   PRO HAC VICE

                                                   Sarah Levitan Perry
                                                   (See above for address)
                                                   TERMINATED: 02/22/2024
                                                   PRO HAC VICE

                                                   Sean M Larson
                                                   (See above for address)
                                                   TERMINATED: 02/22/2024

Defendant
SonicHash LLC                          represented by Jane Marie France
a Delaware limited liability company                  (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                   Marc S Gottlieb , I
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   PRO HAC VICE
                                                   ATTORNEY TO BE NOTICED

                                                   Meggan Hathaway
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Alex Inman
                                                   (See above for address)

                                                                                WYD 5
     Case 1:23-cv-00079-ABJ Document 303-1 Filed 07/30/24 Page 6 of 50



                                                     TERMINATED: 02/22/2024
                                                     PRO HAC VICE

                                                     Kari Hartman
                                                     (See above for address)
                                                     TERMINATED: 02/22/2024

                                                     Paula Colbath
                                                     (See above for address)
                                                     TERMINATED: 02/22/2024
                                                     PRO HAC VICE

                                                     Sarah Levitan Perry
                                                     (See above for address)
                                                     TERMINATED: 02/22/2024
                                                     PRO HAC VICE

                                                     Sean M Larson
                                                     (See above for address)
                                                     TERMINATED: 02/22/2024

Defendant
Bitmain Technologies Holding
Company
a Cayman Island company

Defendant
Bitmain Technologies Georgia Limited   represented by Khale J Lenhart
a Georgia corporation                                 HIRST APPLEGATE LLP
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                                                      PO Box 1083
                                                      Cheyenne, WY 82003−1083
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                                                     Daniel Hirsch
                                                     O'MELVENY & MYERS LLP
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                                                                                           WYD 6
Case 1:23-cv-00079-ABJ Document 303-1 Filed 07/30/24 Page 7 of 50



                                           Los Angeles, CA 90071
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                                           PRO HAC VICE

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                                           Email: wpao@omm.com
                                           PRO HAC VICE


                                                                            WYD 7
     Case 1:23-cv-00079-ABJ Document 303-1 Filed 07/30/24 Page 8 of 50



                                                   ATTORNEY TO BE NOTICED

Counter Claimant
Bit Origin Ltd                         represented by Jane Marie France
a Cayman Island company                               (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                   Marc S Gottlieb , I
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   PRO HAC VICE
                                                   ATTORNEY TO BE NOTICED

                                                   Meggan Hathaway
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Alex Inman
                                                   (See above for address)
                                                   TERMINATED: 02/22/2024
                                                   PRO HAC VICE

                                                   Kari Hartman
                                                   (See above for address)
                                                   TERMINATED: 02/22/2024

                                                   Paula Colbath
                                                   (See above for address)
                                                   TERMINATED: 02/22/2024
                                                   PRO HAC VICE

                                                   Sarah Levitan Perry
                                                   (See above for address)
                                                   TERMINATED: 02/22/2024
                                                   PRO HAC VICE

                                                   Sean M Larson
                                                   (See above for address)
                                                   TERMINATED: 02/22/2024

Counter Claimant
MineOne Wyoming Data Center LLC        represented by Kari Hartman
a Delaware limited liability company                  (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                   Paula Colbath
                                                   (See above for address)
                                                   LEAD ATTORNEY


                                                                                WYD 8
     Case 1:23-cv-00079-ABJ Document 303-1 Filed 07/30/24 Page 9 of 50



                                                   ATTORNEY TO BE NOTICED

                                                   Sean M Larson
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Alex Inman
                                                   (See above for address)
                                                   PRO HAC VICE
                                                   ATTORNEY TO BE NOTICED

                                                   David A Forrest
                                                   (See above for address)
                                                   PRO HAC VICE
                                                   ATTORNEY TO BE NOTICED

                                                   Leily Lashkari
                                                   (See above for address)
                                                   PRO HAC VICE
                                                   ATTORNEY TO BE NOTICED

                                                   Sarah Levitan Perry
                                                   (See above for address)
                                                   TERMINATED: 05/16/2024

Counter Claimant
SonicHash LLC                          represented by Jane Marie France
a Delaware limited liability company                  (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                   Marc S Gottlieb , I
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   PRO HAC VICE
                                                   ATTORNEY TO BE NOTICED

                                                   Meggan Hathaway
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Alex Inman
                                                   (See above for address)
                                                   TERMINATED: 02/22/2024
                                                   PRO HAC VICE

                                                   Kari Hartman
                                                   (See above for address)
                                                   TERMINATED: 02/22/2024


                                                                                WYD 9
    Case 1:23-cv-00079-ABJ Document 303-1 Filed 07/30/24 Page 10 of 50



                                                        Paula Colbath
                                                        (See above for address)
                                                        TERMINATED: 02/22/2024
                                                        PRO HAC VICE

                                                        Sarah Levitan Perry
                                                        (See above for address)
                                                        TERMINATED: 02/22/2024
                                                        PRO HAC VICE

                                                        Sean M Larson
                                                        (See above for address)
                                                        TERMINATED: 02/22/2024

Counter Claimant
MineOne Partners LLC                   represented by Kari Hartman
a Delaware limited liability company                  (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                        Paula Colbath
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Sean M Larson
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Alex Inman
                                                        (See above for address)
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

                                                        David A Forrest
                                                        (See above for address)
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

                                                        Leily Lashkari
                                                        (See above for address)
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

                                                        Sarah Levitan Perry
                                                        (See above for address)
                                                        TERMINATED: 05/16/2024

Counter Claimant
                                       represented by


                                                                                  WYD 10
     Case 1:23-cv-00079-ABJ Document 303-1 Filed 07/30/24 Page 11 of 50



Terra Crypto Inc                                              Kari Hartman
a Delaware corporation                                        (See above for address)
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

                                                              Paula Colbath
                                                              (See above for address)
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

                                                              Sean M Larson
                                                              (See above for address)
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

                                                              Alex Inman
                                                              (See above for address)
                                                              PRO HAC VICE
                                                              ATTORNEY TO BE NOTICED

                                                              David A Forrest
                                                              (See above for address)
                                                              PRO HAC VICE
                                                              ATTORNEY TO BE NOTICED

                                                              Leily Lashkari
                                                              (See above for address)
                                                              PRO HAC VICE
                                                              ATTORNEY TO BE NOTICED

                                                              Sarah Levitan Perry
                                                              (See above for address)
                                                              TERMINATED: 05/16/2024


V.
Counter Defendant
BCB Cheyenne LLC                               represented by Patrick J Murphy
a Wyoming limited liability company                           (See above for address)
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

                                                              Scott C Murray
                                                              (See above for address)
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED


 Date Filed      #    Docket Text
 05/03/2023       1   COMPLAINT for Breach of Contract, Anticipatory Repudiation of Contract,


                                                                                                WYD 11
   Case 1:23-cv-00079-ABJ Document 303-1 Filed 07/30/24 Page 12 of 50




                  International Interference with Contractual Relations, Alter Ego Liability, Enterprise
                  Liability, and Lost Profits and Money Damages filed by BCB Cheyenne LLC (Filing
                  fee $402, receipt #1−179) (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C,
                  # 4 Civil Cover Sheet, # 5 Consent to Proceed before Magistrate) (Court Staff, skb)
                  Modified text on 5/9/2023 (Court Staff, sjlg). (Entered: 05/03/2023)
05/09/2023    2   ORDER REASSIGNING CASE by the Honorable Scott W Skavdahl. Case
                  reassigned to Honorable Alan B Johnson for all further proceedings. Honorable Scott
                  W Skavdahl no longer assigned to case. (Court Staff, skb) (Entered: 05/09/2023)
05/16/2023    3   Praecipe for Summons filed by Plaintiff BCB Cheyenne LLC (Attachments: # 1
                  Summons) (Murphy, Patrick) (Entered: 05/16/2023)
05/17/2023    4   Summons Issued as to Defendant Terra Crypto Inc (Court Staff, sbh) (Entered:
                  05/17/2023)
05/17/2023    5   Praecipe for Bit Origin Summons filed by Plaintiff BCB Cheyenne LLC
                  (Attachments: # 1 Summons) (Murphy, Patrick) (Attachment 1 flattened and replaced
                  on 5/18/2023) (Court Staff, sbh). (Entered: 05/17/2023)
05/17/2023    6   Praecipe for Summons filed by Plaintiff BCB Cheyenne LLC (Attachments: # 1
                  MineOne Partners Summons) (Murphy, Patrick) (Attachment 1 flattened and
                  replaced on 5/18/2023) (Court Staff, sbh). (Entered: 05/17/2023)
05/17/2023    7   Praecipe for Summons filed by Plaintiff BCB Cheyenne LLC (Attachments: # 1
                  MineOne Wyoming Data Center Summons) (Murphy, Patrick) (Attachment 1
                  flattened and replaced on 5/18/2023) (Court Staff, sbh). (Entered: 05/17/2023)
05/17/2023    8   Praecipe for Summons filed by Plaintiff BCB Cheyenne LLC (Attachments: # 1
                  SonicHash Summons) (Murphy, Patrick) (Attachment 1 flattened and replaced on
                  5/18/2023) (Court Staff, sbh). (Entered: 05/17/2023)
05/17/2023    9   Praecipe for Summons filed by Plaintiff BCB Cheyenne LLC (Attachments: # 1
                  Terra Crypto Summons) (Murphy, Patrick) (Attachment 1 flattened and replaced on
                  5/18/2023) (Court Staff, sbh). (Entered: 05/17/2023)
05/18/2023   10   Summonses Issued (Court Staff, sbh) (Entered: 05/18/2023)
06/13/2023   11   SUMMONS Returned Executed by BCB Cheyenne LLC. MineOne Partners LLC
                  served on 6/1/2023 6/7/2023 answer due on 6/22/2023 6/28/2023 (Murphy, Patrick)
                  Modified date served and answer deadline date on 6/14/2023 (Court Staff, stmo).
                  (Entered: 06/13/2023)
06/13/2023   12   SUMMONS Returned Executed by BCB Cheyenne LLC. MineOne Wyoming Data
                  Center LLC served on 6/1/2023 6/7/2023 answer due on 6/22/2023 6/28/2023
                  (Murphy, Patrick) Modified date served and answer deadline date on 6/14/2023
                  (Court Staff, stmo). (Entered: 06/13/2023)
06/13/2023   13   SUMMONS Returned Executed by BCB Cheyenne LLC. SonicHash LLC served on
                  6/1/2023 6/7/2023 answer due on 6/22/2023 6/28/2023 (Murphy, Patrick) Modified
                  date served and answer deadline date on 6/14/2023 (Court Staff, stmo). (Entered:
                  06/13/2023)
06/13/2023   14   SUMMONS Returned Executed by BCB Cheyenne LLC. Terra Crypto Inc served on
                  6/7/2023, answer due on 6/28/2023 (Murphy, Patrick) (Entered: 06/13/2023)
06/13/2023   15

                                                                                                  WYD 12
   Case 1:23-cv-00079-ABJ Document 303-1 Filed 07/30/24 Page 13 of 50




                  SUMMONS Returned Executed by BCB Cheyenne LLC. Bit Origin Ltd served on
                  5/23/2023, answer due on 6/13/2023 (Murphy, Patrick) (Entered: 06/13/2023)
06/22/2023   16   NOTICE of Attorney Appearance by Sean M Larson on behalf of Bit Origin Ltd,
                  MineOne Partners LLC, MineOne Wyoming Data Center LLC, SonicHash LLC,
                  Terra Crypto Inc (Larson, Sean) (Entered: 06/22/2023)
06/22/2023   17   MOTION REFERRED TO Judge Kelly H Rankin. MOTION for Extension of Time
                  (Non−Dispositive) requesting extension of Time to Respond filed by Defendants Bit
                  Origin Ltd, MineOne Partners LLC, MineOne Wyoming Data Center LLC,
                  SonicHash LLC, Terra Crypto Inc. (Attachments: # 1 Exhibit, # 2 Proposed
                  Order)(Larson, Sean) (Entered: 06/22/2023)
06/23/2023   18   (TEXT−ONLY) NOTICE of Hearing on 17 MOTION for Extension of Time
                  (Non−Dispositive) requesting extension of Time to Respond BY TELEPHONE. All
                  parties may appear by telephone through the Courts conference call system. Guests
                  call: 307−735−3644, Access code 275440149#. Motion Hearing set for 6/26/2023
                  11:00 AM before Honorable Kelly H Rankin. (Court Staff, sjdl) (Entered:
                  06/23/2023)
06/23/2023   19   MOTION for Entry of Default and RESPONSE in Opposition re 17 MOTION for
                  Extension of Time (Non−Dispositive) requesting extension of Time to Respond filed
                  by Plaintiff BCB Cheyenne LLC. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3
                  Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, #
                  9 Exhibit II, # 10 Exhibit J, # 11 Exhibit K, # 12 Exhibit L, # 13 Exhibit M, # 14
                  Exhibit N, # 15 Proposed Order) (Murphy, Patrick) Modified to correct event and
                  docket text on 6/26/2023 (Court Staff, smxb). (Entered: 06/23/2023)
06/26/2023   20   (TEXT−ONLY) ORDER by the Honorable Kelly H Rankin granting in part and
                  denying in part 17 Motion for Extension of Time. On June 26, 2023, the Court held
                  an informal telephonic hearing on Defendants' Motion for Extension of Time to
                  Respond to Plaintiff's Complaint 17 and Plaintiff's Response in Opposition and
                  Request for Default 19 . Upon consideration of the arguments made in the briefing
                  and at the hearing the Court orders as follows: Given Defendants timely request for
                  an extension and due to the procedural posturing of this case, Defendants MineOne
                  Wyoming Data Center LLC, MineOne Partners LLC, Terra Crypto Inc., and Sonic
                  Hash LLCs answers are due on or before July 3, 2023. Next, Plaintiff's request for
                  default against Defendant Bit Origin Ltd 19 shall be addressed by the trial Court.
                  Plaintiff's right to seek default or other recourse against any Defendant is preserved.
                  (Court Staff, sjgc) (Entered: 06/26/2023)
06/26/2023   21   (TEXT−ONLY) ORDER by the Honorable Kelly H Rankin. Defendant Bit Origin
                  Ltd. shall respond to Plaintiff's Motion for Default 19 on or before July 7, 2023.
                  (Court Staff, sjgc) (Entered: 06/26/2023)
06/26/2023   22   MINUTES for proceedings held before Honorable Kelly H Rankin: Upon
                  consideration of the arguments made, Court determined that given Defendants timely
                  request for an extension and due to the procedural posturing of this case, Defendants
                  MineOne Wyoming Data Center LLC, MineOne Partners LLC, Terra Crypto Inc.,
                  and Sonic Hash LLCs answers are due on or before July 3, 2023. Plaintiffs request
                  for default against Defendant Bit Origin Ltd 19 shall be addressed by the trial Court.
                  Plaintiffs right to seek default or other recourse against any Defendant is preserved.
                  Motion Hearing held on 6/26/2023. (Court Staff, smxb) (Entered: 06/26/2023)
07/03/2023   23

                                                                                                    WYD 13
   Case 1:23-cv-00079-ABJ Document 303-1 Filed 07/30/24 Page 14 of 50




                  ANSWER to 1 Complaint with Affirmative Defenses, COUNTERCLAIM against
                  Counter−Defendant BCB Cheyenne LLC by Bit Origin Ltd, MineOne Partners LLC,
                  MineOne Wyoming Data Center LLC, SonicHash LLC, Terra Crypto Inc. (Larson,
                  Sean) (Entered: 07/03/2023)
07/07/2023   24   RESPONSE in Opposition re 19 MOTION for Entry of Default filed by Defendants
                  Bit Origin Ltd, MineOne Partners LLC, MineOne Wyoming Data Center LLC,
                  SonicHash LLC, Terra Crypto Inc, Counter Claimants Bit Origin Ltd, MineOne
                  Partners LLC, MineOne Wyoming Data Center LLC, SonicHash LLC, Terra Crypto
                  Inc. (Attachments: # 1 Exhibit A, # 2 Proposed Order) (Larson, Sean) Modified text
                  on 7/10/2023 (Court Staff, sbh). (Entered: 07/07/2023)
07/14/2023   25   REPLY to 24 RESPONSE in Opposition re 19 MOTION for Entry of Default filed
                  by Plaintiff BCB Cheyenne LLC. (Murphy, Patrick) Modified link and text on
                  7/14/2023 (Court Staff, stmo). Modified text on 7/17/2023 (Court Staff, sbh).
                  (Entered: 07/14/2023)
07/17/2023   26   NOTICE of Complexity by Defendants Bit Origin Ltd, MineOne Partners LLC,
                  MineOne Wyoming Data Center LLC, SonicHash LLC, Terra Crypto Inc, Counter
                  Claimants Bit Origin Ltd, MineOne Partners LLC, MineOne Wyoming Data Center
                  LLC, SonicHash LLC, Terra Crypto Inc: this case is non−complex. (Larson, Sean)
                  (Entered: 07/17/2023)
07/17/2023   27   CORPORATE DISCLOSURE filed by Bit Origin Ltd, MineOne Partners LLC,
                  MineOne Wyoming Data Center LLC, SonicHash LLC, Terra Crypto Inc. Terra
                  Global Asset Management Holdings Inc. is the parent corporation of Terra Crypto
                  Inc. (Larson, Sean) Modified text on 7/18/2023 (Court Staff, stmo). (Entered:
                  07/17/2023)
07/18/2023   28   MEMORANDUM AND ORDER REGARDING DISCOVERY MOTIONS AND
                  DISPOSITIVE MOTIONS INCLUDING MOTIONS FOR SUMMARY
                  JUDGMENT AND ANALOGOUS MOTIONS TO DISMISS IN CIVIL CASES by
                  the Honorable Alan B Johnson.(Court Staff, ssw) (Entered: 07/18/2023)
07/18/2023   29   ORDER REQUIRING JOINT REPORT of Meeting and Proposed Joint Discovery
                  and Case Management Plan and Setting Initial Pretrial Conference by the Honorable
                  Alan B Johnson. Initial Pretrial Conference set for 8/16/2023 at 1:30 PM before
                  Honorable Alan B Johnson.
                  NOTE:

                  1. This proceeding will be held via Zoom Video/Web Conferencing with all
                  participants appearing remotely;the Zoom ID and Passcode will be provided
                  separately to the participants email address of record.

                  2. Participants should connect to the proceeding 15 minutes prior to its scheduled
                  start time to allow for troubleshooting of any connectivity issues.

                  3. To ensure the record is of the best quality, participants are encouraged to utilize a
                  headset to reduce static and background noise. If not using a headset, participants
                  must ensure the audio feed at their location is muted when not speaking.

                  ***REMINDER: Recording or broadcasting of this hearing is prohibited. ***

                  (Court Staff, ssw) (Entered: 07/18/2023)

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07/18/2023   30   NOTICE of Attorney Appearance by Kari Hartman on behalf of Bit Origin Ltd,
                  MineOne Partners LLC, MineOne Wyoming Data Center LLC, SonicHash LLC,
                  Terra Crypto Inc (Hartman, Kari) (Entered: 07/18/2023)
07/19/2023   31   MOTION REFERRED TO Judge Kelly H Rankin. MOTION for Paula K. Colbath to
                  appear pro hac vice; Check not tendered; filed by Defendants Bit Origin Ltd,
                  MineOne Partners LLC, MineOne Wyoming Data Center LLC, SonicHash LLC,
                  Terra Crypto Inc, Counter Claimants Bit Origin Ltd, MineOne Partners LLC,
                  MineOne Wyoming Data Center LLC, SonicHash LLC, Terra Crypto Inc.
                  (Attachments: # 1 Affidavit, # 2 Proposed Order)(Larson, Sean) (Entered:
                  07/19/2023)
07/19/2023   32   MOTION REFERRED TO Judge Kelly H Rankin. MOTION for Sarah L. Perry to
                  appear pro hac vice; Check not tendered; filed by Defendants Bit Origin Ltd,
                  MineOne Partners LLC, MineOne Wyoming Data Center LLC, SonicHash LLC,
                  Terra Crypto Inc, Counter Claimants Bit Origin Ltd, MineOne Partners LLC,
                  MineOne Wyoming Data Center LLC, SonicHash LLC, Terra Crypto Inc.
                  (Attachments: # 1 Affidavit, # 2 Proposed Order)(Larson, Sean) (Entered:
                  07/19/2023)
07/20/2023   33   ORDER by the Honorable Kelly H. Rankin granting 31 , 32 MOTIONS for Paula K.
                  Colbath and Sarah Levitan Perry to appear pro hac vice on behalf of Defendants
                  Terra Crypto Inc, MineOne Wyoming Data Center LLC, Bit Origin Ltd, SonicHash
                  LLC, MineOne Partners LLC (Order emailed to phv counsel on this date) (Court
                  Staff, sbh) (Entered: 07/20/2023)
07/20/2023        FINANCIAL ENTRY: $100 PRO HAC VICE FEES PAID (Receipt #2−1816 total
                  amount received $200) on behalf of Paula K. Colbath and Sarah Levitan Perry (Court
                  Staff, stmo) (Entered: 07/20/2023)
07/20/2023   34   Notice of Pro Hac Vice Attorney Appearance by Paula Colbath on behalf of Bit
                  Origin Ltd, MineOne Partners LLC, MineOne Wyoming Data Center LLC,
                  SonicHash LLC, Terra Crypto Inc (Filing fee $ 100, receipt number
                  AWYDC−2286723) (Colbath, Paula) Modified on 7/21/2023 to strike filing fee as
                  fee was previously paid on 7/20/23 with receipt 2−1816. Receipt AWYDC−2286723
                  REFUNDED via Pay.gov on 7/21/23 (Court Staff, sjk). (Entered: 07/20/2023)
07/20/2023   35   Notice of Pro Hac Vice Attorney Appearance by Sarah Levitan Perry on behalf of Bit
                  Origin Ltd, MineOne Partners LLC, MineOne Wyoming Data Center LLC,
                  SonicHash LLC, Terra Crypto Inc (Filing fee $ 100, receipt number
                  AWYDC−2286725) (Perry, Sarah) Modified on 7/21/2023 to strike filing fee as fee
                  was previously paid on 7/20/23 with receipt 2−1816. Receipt AWYDC−2286725
                  REFUNDED via Pay.gov on 7/21/23(Court Staff, sjk). (Entered: 07/20/2023)
07/24/2023   36   ANSWER to 23 Counterclaim by BCB Cheyenne LLC. (Murphy, Patrick) Modified
                  text on 7/25/2023 (Court Staff, sbh). (Entered: 07/24/2023)
07/27/2023   37   Notice requiring Plaintiff/Counter Defendant BCB Cheyenne LLC to Submit a
                  Disclosure Statement in accordance with Fed.R.Civ.P. 7.1(b). Disclosure Statement
                  Due: July 31, 2023. (Court Staff, szf) (Entered: 07/27/2023)
07/31/2023   38   CORPORATE DISCLOSURE filed by BCB Cheyenne LLC listing Michael Murphy,
                  Emory Patterson IV, Neil Phippen, BCB Ventures LLC, CMV Global LLC, Bryce
                  Fincham and Bayview Capital Investments LLC as Members. (Murphy, Patrick)
                  Modified text to add members on 8/1/2023 (Court Staff, sjlg). (Entered: 07/31/2023)


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08/10/2023   39   Supplemental DISCLOSURE for LLC or Partnership filed by BCB Cheyenne LLC
                  (Murphy, Patrick) Modified text on 8/11/2023 (Court Staff, sbh). (Entered:
                  08/10/2023)
08/14/2023   40   Notice Vacating Hearing: Initial Pretrial Conference set for August 16 is VACATED
                  and will be reset at a later date. (Court Staff, ssw) (Entered: 08/14/2023)
08/15/2023   41   Amended DISCLOSURE for LLC or Partnership filed by Bit Origin Ltd, MineOne
                  Partners LLC, MineOne Wyoming Data Center LLC, SonicHash LLC, Terra Crypto
                  Inc. See pleading for details. (Hartman, Kari) Modified text on 8/17/2023 (Court
                  Staff, sbh). (Entered: 08/15/2023)
08/21/2023   42   Amended DISCLOSURE for LLC or Partnership filed by BCB Cheyenne LLC.
                  (Attachments: # 1 Exhibit) (Murphy, Patrick) (Entered: 08/21/2023)
08/21/2023   43   (TEXT−ONLY) NOTICE Resetting Initial Pretrial Conference: Initial Pretrial
                  Conference reset for 8/30/2023 at 9:00 AM before Honorable Alan B Johnson.
                  NOTE:

                  1. This proceeding will be held via Zoom Video/Web Conferencing with all
                  participants appearing remotely;the Zoom ID and Passcode will be provided
                  separately to the participants email address of record.

                  2. Participants should connect to the proceeding 15 minutes prior to its scheduled
                  start time to allow for troubleshooting of any connectivity issues.

                  3. To ensure the record is of the best quality, participants are encouraged to utilize a
                  headset to reduce static and background noise. If not using a headset, participants
                  must ensure the audio feed at their location is muted when not speaking.

                  ***REMINDER: Recording or broadcasting of this hearing is prohibited. ***

                  (Court Staff, ssw) (Entered: 08/21/2023)
08/21/2023   44   REPORT of Rule 26(f) Planning Meeting filed by Plaintiff BCB Cheyenne LLC.
                  (Murphy, Patrick) (Entered: 08/21/2023)
08/30/2023   45   MINUTES for proceedings held before Honorable Alan B. Johnson: Initial Pretrial
                  Conference held on 8/30/2023 (Court Reporter: Jan Davis) (Court Staff, sbh)
                  (Entered: 08/30/2023)
08/30/2023   46   INITIAL PRETRIAL ORDER by the Honorable Alan B. Johnson. Expert Witness
                  Designation−Plaintiff deadline 2/28/2024. Expert Witness Designation−Defendant
                  deadline 4/15/2024. Discovery due by 8/7/2024. Motions filing deadline 9/6/2024.
                  Motion response deadline 9/20/2024. Replies due by 9/27/2024. Joint Final Pretrial
                  Memorandum due by 11/8/2024. Motion in Limine deadline 11/8/2024. Motions in
                  Limine Response Deadline 11/22/2024. Motions in Limine Reply Deadline
                  12/2/2024. Final Pretrial Conference set for 1/10/2025 09:30 AM in Cheyenne
                  Courtroom No. 2 (Room No. 2116) before Honorable Alan B. Johnson. 10−day
                  Bench Trial set for 1/27/2025 09:30 AM in Cheyenne Courtroom No. 2 (Room
                  No. 2116) before Honorable Alan B. Johnson. (Court Staff, sbh) (Entered:
                  08/30/2023)
09/05/2023   47   NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Initial Pretrial Conference
                  held on 8/30/2023 before Judge Alan B. Johnson. To purchase a copy of this

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                  transcript, please contact Court Reporter Jan Davis, phone (307) 433−2154 or email
                  jbd.davis@gmail.com. A party must file a Notice of Intent to Request Redaction
                  within 7 calendar days. If a party fails to request redaction, the unredacted transcript
                  attached to this entry will be made available electronically without redaction. Notice
                  of Intent to Redact due 9/12/2023. Notice of Redaction Request due 9/26/2023.
                  Redacted Transcript Deadline set for 10/6/2023. Release of Transcript Restriction set
                  for 12/4/2023. (Davis, Jan) (Entered: 09/05/2023)
09/15/2023   48   (TEXT−ONLY) ORDER by the Honorable Alan B Johnson denying as moot 19
                  Motion for Default Judgment Against Defendants MineOne Wyoming Data Center
                  LLC, MineOne Partners LLC, SonicHash LLC, and Bit Origin, Ltd. All five
                  Defendants have responded to Plaintiffs Complaint and all parties have appeared
                  before the Court in this matter. Therefore, Plaintiffs request for entry of default
                  against Defendants is rendered moot. (Court Staff, ssw) (Entered: 09/15/2023)
09/29/2023   49   Answer, Defenses and AMENDED COUNTERCLAIM against Counter−Defendant
                  BCB Cheyenne LLC filed by Bit Origin Ltd, MineOne Partners LLC, SonicHash
                  LLC, MineOne Wyoming Data Center LLC, Terra Crypto Inc. (Larson, Sean)
                  Modified text on 10/3/2023 (Court Staff, sbh). (Entered: 09/29/2023)
09/30/2023   50   AMENDED COMPLAINT against Defendants Bit Origin Ltd, MineOne Partners
                  LLC, MineOne Wyoming Data Center LLC, SonicHash LLC, Terra Crypto Inc,
                  Bitmain Technologies Holding Company, Bitmain Technologies Georgia Limited
                  filed by BCB Cheyenne LLC. (Attachments: # 1 Exhibit A (see Doc 54 ), # 2 Exhibit
                  B, # 3 Exhibit C) (Murray, Scott) Modified text on 10/10/2023 (Court Staff, sbh).
                  (Entered: 09/30/2023)
10/05/2023   51   ANSWER to 49 Counterclaim by BCB Cheyenne LLC. (Murphy, Patrick) (Entered:
                  10/05/2023)
10/05/2023   52   MOTION REFERRED TO Judge Kelly H Rankin. MOTION for Order to File
                  Exhibit as a Non−Public Document filed by Counter Defendant BCB Cheyenne LLC,
                  Plaintiff BCB Cheyenne LLC. (Attachments: # 1 Proposed Order)(Murphy, Patrick)
                  (Entered: 10/05/2023)
10/06/2023   53   ORDER by the Honorable Kelly H Rankin granting 52 Motion for Order. Plaintiff
                  may file the exhibit as non−public. (Court Staff, sjdl) (Entered: 10/06/2023)
10/10/2023   54   NON−PUBLIC DOCUMENT pursuant to the Judicial Conference Policy on Privacy
                  and Public Access − EXHIBIT A to 50 Amended Complaint filed by Counter
                  Defendant BCB Cheyenne LLC, Plaintiff BCB Cheyenne LLC. (Murphy, Patrick)
                  Modified text on 10/10/2023 (Court Staff, sbh). (Main Document 54 flattened and
                  replaced on 10/10/2023) (Court Staff, stmo). Modified text on 10/10/2023 (Court
                  Staff, stmo). (Entered: 10/10/2023)
10/11/2023   55   MOTION REFERRED TO Judge Kelly H Rankin. MOTION for Extension of Time
                  (Non−Dispositive) requesting extension of Time to Respond to Plaintiff's Frist
                  Amended Complaint filed by Defendants Bit Origin Ltd, Bitmain Technologies
                  Georgia Limited, Bitmain Technologies Holding Company, MineOne Partners LLC,
                  MineOne Wyoming Data Center LLC, SonicHash LLC, Terra Crypto Inc, Counter
                  Claimants Bit Origin Ltd, MineOne Partners LLC, MineOne Wyoming Data Center
                  LLC, SonicHash LLC, Terra Crypto Inc. (Attachments: # 1 Proposed Order)(Larson,
                  Sean) (Entered: 10/11/2023)
10/12/2023   56


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                  (TEXT−ONLY) ORDER by the Honorable Kelly H Rankin granting 55 Motion for
                  Extension of Time. Defendants MineOne Wyoming Data Center LLC, MineOne
                  Partners LLC, Terra Crypto Inc., Bit Origin Ltd, and SonicHash LLC shall answer or
                  otherwise respond to the Amended Complaint on or before 10/27/2023. (Court Staff,
                  sjdl) (Entered: 10/12/2023)
10/23/2023   57   Praecipe for Summons filed by Plaintiff BCB Cheyenne LLC (Attachments: # 1
                  Bitmain Tech. Georgia Summons) (Murray, Scott) (Attachment 1 flattened and
                  replaced on 10/23/2023) (Court Staff, stmo). Modified text on 10/23/2023 (Court
                  Staff, stmo). (Entered: 10/23/2023)
10/23/2023   58   Praecipe for Summons filed by Plaintiff BCB Cheyenne LLC, 1 issued. (Court Staff,
                  stbd) (Entered: 10/23/2023)
10/23/2023   59   1 Summons Issued. (Court Staff, stbd) (Entered: 10/23/2023)
10/26/2023   60   MOTION REFERRED TO Judge Kelly H Rankin. MOTION for Extension of Time
                  (Non−Dispositive) requesting extension of Time to Respond to Plaintiff's First
                  Amended Complaint filed by Defendants Bit Origin Ltd, MineOne Partners LLC,
                  MineOne Wyoming Data Center LLC, SonicHash LLC, Terra Crypto Inc, Counter
                  Claimants Bit Origin Ltd, MineOne Partners LLC, MineOne Wyoming Data Center
                  LLC, SonicHash LLC, Terra Crypto Inc. (Attachments: # 1 Proposed Order) (Larson,
                  Sean) Modified text on 10/31/2023 (Court Staff, sbh). Modified text on 10/31/2023
                  (Court Staff, stmo). Modified filers on 11/16/2023 (Court Staff, sbh). (Entered:
                  10/26/2023)
10/27/2023   61   ORDER by the Honorable Kelly H Rankin granting 60 Motion for Extension of
                  Time. Defendants shall have up to and including October 31, 2023, by which to
                  answer or otherwise respond to Plaintiff's First Amended Complaint. (Court Staff,
                  sjgc) (Entered: 10/27/2023)
10/31/2023   62   ANSWER to 50 Amended Complaint, Amended COUNTERCLAIM against
                  Counter−Defendant BCB Cheyenne LLC by Bit Origin Ltd, MineOne Wyoming
                  Data Center LLC, SonicHash LLC, MineOne Partners LLC, Terra Crypto Inc.
                  (Colbath, Paula) Modified text on 11/2/2023 (Court Staff, sbh). (Entered:
                  10/31/2023)
11/01/2023   63   SUMMONS Returned Executed by BCB Cheyenne LLC. Bitmain Technologies
                  Georgia Limited served on 10/25/2023, answer due on 11/15/2023 (Murphy, Patrick)
                  (Entered: 11/01/2023)
11/08/2023   64   MOTION REFERRED TO Judge Kelly H Rankin. MOTION for Alex Inman to
                  appear pro hac vice; Check not tendered; filed by Defendants Bit Origin Ltd, Bitmain
                  Technologies Georgia Limited, Bitmain Technologies Holding Company, MineOne
                  Partners LLC, MineOne Wyoming Data Center LLC, SonicHash LLC, Terra Crypto
                  Inc, Counter Claimants Bit Origin Ltd, MineOne Partners LLC, MineOne Wyoming
                  Data Center LLC, SonicHash LLC, Terra Crypto Inc. (Attachments: # 1 Declaration,
                  # 2 Proposed Order) (Larson, Sean) Modified text on 11/9/2023 (Court Staff, sbh).
                  (Entered: 11/08/2023)
11/08/2023   65   ORDER (amended at 71 ) by the Honorable Kelly H Rankin granting 64 MOTION
                  for Alex Inman to appear pro hac vice on behalf of Defendants Bit Origin Ltd,
                  MineOne Partners LLC, MineOne Wyoming Data Center LLC, SonicHash LLC,
                  Terra Crypto Inc, Bitmain Technologies Georgia Limited, Bitmain Technologies
                  Holding Company Counter Claimants Bit Origin Ltd, MineOne Partners LLC,


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                  MineOne Wyoming Data Center LLC, SonicHash LLC, Terra Crypto Inc. (order
                  emailed to PHV counsel). (Court Staff, stmo) Modified on 12/1/2023 (Court Staff,
                  sbh). (Entered: 11/08/2023)
11/09/2023   66   (TEXT−ONLY) ORDER by the Honorable Kelly H Rankin. On November 9, 2023,
                  the Court held an informal telephonic discovery conference to discuss Defendants'
                  request for a forty−five−day extension to respond to Plaintiff's outstanding discovery
                  requests. After hearing from the parties, the Court finds Defendants have shown some
                  good cause for the request. Specifically, the nature and amount of discovery
                  requested coupled with current status of the case support a reasonable extension.
                  Consequently, the Court grants existing Defendants until November 30, 2023, to
                  lodge any objections to the outstanding discovery, and until December 20, 2023, to
                  answer and respond to the outstanding discovery requests. (Court Staff, sjgc)
                  (Entered: 11/09/2023)
11/14/2023   67   MOTION REFERRED TO Judge Kelly H Rankin. MOTION to Amend/Correct 65
                  Order on motion to appear pro hac vice filed by Defendants Bit Origin Ltd, MineOne
                  Partners LLC, MineOne Wyoming Data Center LLC, SonicHash LLC, Terra Crypto
                  Inc, Counter Claimants Bit Origin Ltd, MineOne Partners LLC, MineOne Wyoming
                  Data Center LLC, SonicHash LLC, Terra Crypto Inc. (Attachments: # 1 Proposed
                  Order) (Larson, Sean) (Entered: 11/14/2023)
11/16/2023   68   MOTION for Entry of Default against Bitmain Technologies Georgia Limited filed
                  by Plaintiff BCB Cheyenne LLC. (Attachments: # 1 Proposed Order)(Murray, Scott)
                  (Entered: 11/16/2023)
11/17/2023   69   VACATED per 103 Order Setting Aside Default. CLERK'S ENTRY OF DEFAULT
                  filed against Defendant Bitmain Technologies Georgia Limited by the Clerk of Court,
                  Margaret Botkins (Mailed to defendant on this date at the addresses contained in the
                  motion) (Court Staff, sbh) Modified text on 11/17/2023 (Court Staff, sbh). Modified
                  on 1/10/2024 (Court Staff, sbh). (Entered: 11/17/2023)
11/28/2023   70   Notice of Pro Hac Vice Attorney Appearance by Alex Inman on behalf of Bit Origin
                  Ltd, MineOne Partners LLC, MineOne Wyoming Data Center LLC, SonicHash LLC,
                  Terra Crypto Inc (Filing fee $ 100, receipt number AWYDC−2347802) (Inman,
                  Alex) (Entered: 11/28/2023)
12/01/2023   71   ORDER by the Honorable Kelly H. Rankin granting 67 MOTION to Amend/Correct
                  65 Order on motion to appear pro hac vice. The Court will amend its Order to reflect
                  Mr. Inman's representation of Defendants MineOne Wyoming Data Center LLC,
                  MineOne Partners LLC, Terra Crypto Inc, BitOrigin Ltd and SonicHash LLC only.
                  (Court Staff, sbh) (Entered: 12/01/2023)
12/05/2023   72   MOTION REFERRED TO Judge Kelly H Rankin. Stipulated MOTION for
                  Protective Order filed by Defendants Bit Origin Ltd, MineOne Partners LLC,
                  MineOne Wyoming Data Center LLC, SonicHash LLC, Terra Crypto Inc, Counter
                  Claimants Bit Origin Ltd, MineOne Partners LLC, MineOne Wyoming Data Center
                  LLC, SonicHash LLC, Terra Crypto Inc. (Attachments: # 1 Proposed Order
                  Stipulated Protective Order, # 2 Proposed Order for Entry of Protective
                  Order)(Larson, Sean) (Entered: 12/05/2023)
12/05/2023   73   NOTICE of Service of Subpoena Duces Tecum by Defendants Bit Origin Ltd,
                  MineOne Partners LLC, MineOne Wyoming Data Center LLC, SonicHash LLC,
                  Terra Crypto Inc, Counter Claimants Bit Origin Ltd, MineOne Partners LLC,
                  MineOne Wyoming Data Center LLC, SonicHash LLC, Terra Crypto Inc

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                  (Attachments: # 1 Exhibit Subpoena − Derocher, # 2 Exhibit Subpoena − Quid)
                  (Larson, Sean) (Entered: 12/05/2023)
12/06/2023   74   PROTECTIVE ORDER by the Honorable Kelly H Rankin granting 72 Motion for
                  Protective Order. (Court Staff, sjgc) Modified text on 12/7/2023 (Court Staff, sbh).
                  (Entered: 12/06/2023)
12/08/2023   75   RETURN of Subpoena Duces Tecum by Plaintiff BCB Cheyenne LLC upon Misty
                  McPherson (Registered Agent for Systems Mechanical & Electrical Contractors,
                  LLC) on 12/7/2023. (Attachments: # 1 Affidavit of Service) (Murphy, Patrick)
                  (Entered: 12/08/2023)
12/11/2023   76   NOTICE of Attorney Appearance by Khale J Lenhart on behalf of Bitmain
                  Technologies Georgia Limited (Lenhart, Khale) (Entered: 12/11/2023)
12/11/2023   77   NOTICE of Attorney Appearance by Tyson Richard Woodford on behalf of Bitmain
                  Technologies Georgia Limited (Woodford, Tyson) (Entered: 12/11/2023)
12/13/2023   78   RETURN of Subpoena upon James Quid on December 8, 2023 by Defendants Bit
                  Origin Ltd, MineOne Partners LLC, MineOne Wyoming Data Center LLC,
                  SonicHash LLC, Terra Crypto Inc, Counter Claimants Bit Origin Ltd, MineOne
                  Partners LLC, MineOne Wyoming Data Center LLC, SonicHash LLC, Terra Crypto
                  Inc (Larson, Sean) (Entered: 12/13/2023)
12/13/2023   79   ANSWER to 50 Amended Complaint with Affirmative Defenses by Bitmain
                  Technologies Georgia Limited. (Lenhart, Khale) (Entered: 12/13/2023)
12/13/2023   80   MOTION REFERRED TO Judge Kelly H Rankin. MOTION for Marc Feinstein;
                  William K. Pao to appear pro hac vice; Check not tendered; filed by Defendant
                  Bitmain Technologies Georgia Limited. (Attachments: # 1 Exhibit Declaration of
                  Marc Feinstein, # 2 Exhibit Declaration of William K. Pao, # 3 Proposed
                  Order)(Lenhart, Khale) (Entered: 12/13/2023)
12/13/2023   81   MOTION to Set Aside 69 Default filed by Defendant Bitmain Technologies Georgia
                  Limited. (Lenhart, Khale) (Entered: 12/13/2023)
12/13/2023   82   MEMORANDUM in Support of 81 Motion to Set Aside filed by Defendant Bitmain
                  Technologies Georgia Limited. (Attachments: # 1 Exhibit Declaration of Ailan Liu, #
                  2 Exhibit Declaration of Yiliang Guo−12/8/23, # 3 Exhibit Declaration of Yiliang
                  Guo − 12/12/23, # 4 Exhibit Declaration of Marc Feinstein, # 5 Exhibit Declaration
                  of Khale Lenhart) (Lenhart, Khale) (Entered: 12/13/2023)
12/13/2023   83   ORDER by the Honorable Kelly H. Rankin granting 80 MOTION for Marc Feinstein
                  and William K. Pao to appear pro hac vice on behalf of Defendant Bitmain
                  Technologies Georgia Limited (Order emailed to phv counsel on this date) (Court
                  Staff, sbh) (Entered: 12/13/2023)
12/13/2023   84   NOTICE of complexity by Defendant Bitmain Technologies Georgia Limited; this
                  case is non−complex. (Lenhart, Khale) (Entered: 12/13/2023)
12/13/2023   85   CORPORATE DISCLOSURE filed by Bitmain Technologies Georgia Limited,
                  identifying Corporate Parent Bitmain Technologies Holding Company, Corporate
                  Parent Bitmain Delaware Holding Company Inc, Corporate Parent Bitmain
                  Switzerland AG, Corporate Parent Bitmain Technologies Limited for Bitmain
                  Technologies Georgia Limited. (Lenhart, Khale) (Entered: 12/13/2023)



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12/14/2023   86   Notice of Pro Hac Vice Attorney Appearance by Marc Feinstein on behalf of Bitmain
                  Technologies Georgia Limited (Filing fee $ 100, receipt number AWYDC−2355515)
                  (Feinstein, Marc) (Entered: 12/14/2023)
12/14/2023   87   Notice of Pro Hac Vice Attorney Appearance by William Pao on behalf of Bitmain
                  Technologies Georgia Limited (Filing fee $ 100, receipt number AWYDC−2355558)
                  (Pao, William) (Entered: 12/14/2023)
12/14/2023   88   RETURN of Subpoena Duces Tecum by Plaintiff BCB Cheyenne LLC upon Chimera
                  Brooks of Registered Agent The Corporation Trust Company for Crypto Cache LLC
                  on 12/11/23. (Attachments: # 1 Affidavit of Service) (Murphy, Patrick) (Main
                  Document 88 flattened and replaced on 12/15/2023) (Court Staff, stmo). Modified
                  text on 12/15/2023 (Court Staff, stmo). (Entered: 12/14/2023)
12/14/2023   89   RETURN of Subpoena Duces Tecum by Plaintiff BCB Cheyenne LLC upon Heather
                  Stewart as Controller at Registered Agent Corp 1 Inc for Terra Global Asset
                  Management Holdings LLC on 12/11/23. (Attachments: # 1 Affidavit of Service)
                  (Murphy, Patrick) (Entered: 12/14/2023)
12/14/2023   90   RETURN of Subpoena Duces Tecum by Plaintiff BCB Cheyenne LLC upon Heather
                  Stewart as Controller at Registered Agent Corp 1 Inc for Universal Capital Holdings
                  Group Inc on 12/11/23. (Attachments: # 1 Affidavit of Service) (Murphy, Patrick)
                  (Entered: 12/14/2023)
12/15/2023   91   RETURN of Subpoena Duces Tecum by Plaintiff BCB Cheyenne LLC upon Affie
                  Ellis on 12/14/23. (Attachments: # 1 Affidavit of Service) (Murphy, Patrick) (Main
                  Document 91 flattened and replaced on 12/15/2023) (Court Staff, stmo). Modified
                  text on 12/15/2023 (Court Staff, stmo). (Entered: 12/15/2023)
12/15/2023   92   RETURN of Subpoena Duces Tecum by Plaintiff BCB Cheyenne LLC upon Anthony
                  Apollo on 12/14/23. (Attachments: # 1 Affidavit of Service) (Murphy, Patrick) (Main
                  Document 92 flattened and replaced on 12/15/2023) (Court Staff, stmo). Modified
                  text on 12/15/2023 (Court Staff, stmo). (Entered: 12/15/2023)
12/19/2023   93   RETURN of Subpoena by Defendants Bit Origin Ltd, MineOne Partners LLC,
                  MineOne Wyoming Data Center LLC, SonicHash LLC, Terra Crypto Inc, Counter
                  Claimants Bit Origin Ltd, MineOne Partners LLC, MineOne Wyoming Data Center
                  LLC, SonicHash LLC, Terra Crypto Inc. (Larson, Sean) (Entered: 12/19/2023)
12/21/2023   94   RESPONSE and Opposition to 81 Motion to Set Aside filed by Plaintiff BCB
                  Cheyenne LLC. (Murray, Scott) Modified text on 12/28/2023 (Court Staff, stmo).
                  (Entered: 12/21/2023)
12/21/2023   95   MEMORANDUM in Opposition to 81 MOTION to Set Aside 69 Default filed by
                  Plaintiff BCB Cheyenne LLC. (Attachments: # 1 Affidavit Affidavit of Patrick
                  Murphy, # 2 Supplement Disclosure of Sean Murphy, # 3 Exhibit Recording of
                  3/7/23 Call) (Murray, Scott) (Entered: 12/21/2023)
12/27/2023   96   NOTICE Service − Subpoena to Desrochers by Defendants Bit Origin Ltd, MineOne
                  Partners LLC, MineOne Wyoming Data Center LLC, SonicHash LLC, Terra Crypto
                  Inc, Counter Claimants Bit Origin Ltd, MineOne Partners LLC, MineOne Wyoming
                  Data Center LLC, SonicHash LLC, Terra Crypto Inc (Attachments: # 1 Subpoena, #
                  2 Exhibit A) (Larson, Sean) Modified text on 12/28/2023 (Court Staff, sbh).
                  (Entered: 12/27/2023)
12/27/2023   97

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                   (TEXT−ONLY) ORDER by the Honorable Kelly H Rankin. On December 27, 2023,
                   the Court held an informal telephonic discovery conference to discuss Defendant
                   Bitmain Technologies Georgia Limited's concerns with Plaintiff's Opposition to Set
                   Aside 94 . After hearing from the parties, the Court granted Defendant permission to
                   formally brief the issue. Plaintiff may file a motion of no more than five pages by
                   December 28, 2023, with an up to five−page response to be field by January 2, 2024,
                   with a three page reply by January 5, 2024. (Court Staff, sjgc) (Entered: 12/27/2023)
12/28/2023    98   REPLY to 94 Response and Opposition filed by Defendant Bitmain Technologies
                   Georgia Limited. (Attachments: # 1 Exhibit) (Lenhart, Khale) Modified text on
                   12/28/2023 (Court Staff, stmo). (Entered: 12/28/2023)
12/28/2023    99   MOTION REFERRED TO Judge Kelly H Rankin MOTION to Strike 95 Plaintiff's
                   Response Memorandum in Opposition to Defendant Bitmain Technologies Georgia
                   Limited's Motion to Set Aside the Entry of Default filed by Defendant Bitmain
                   Technologies Georgia Limited. (Attachments: # 1 Proposed Order)(Lenhart, Khale)
                   Modified text on 12/28/2023 (Court Staff, stmo). Modified on 1/4/2024 (Court Staff,
                   sjdl). (Entered: 12/28/2023)
01/02/2024   100   RESPONSE to 99 Motion to Strike filed by Plaintiff BCB Cheyenne LLC.
                   (Attachments: # 1 Exhibit A) (Murray, Scott) (Entered: 01/02/2024)
01/03/2024   101   NOTICE SERVICE OF SUBPOENA DUCES TECUM by Defendants Bit Origin Ltd,
                   MineOne Partners LLC, MineOne Wyoming Data Center LLC, SonicHash LLC,
                   Terra Crypto Inc, Counter Claimants Bit Origin Ltd, MineOne Partners LLC,
                   MineOne Wyoming Data Center LLC, SonicHash LLC, Terra Crypto Inc
                   (Attachments: # 1 Subpoena, # 2 Exhibit A) (Larson, Sean) Modified text on
                   1/3/2024 (Court Staff, stmo). (Entered: 01/03/2024)
01/04/2024         Motions No Longer Referred: 99 MOTION to Strike 95 Memorandum in Opposition
                   to Motion, Plaintiff's Response Memorandum in Opposition to Defendant Bitmain
                   Technologies Georgia Limited's Motion to Set Aside the Entry of Default (Court
                   Staff, sjdl) (Entered: 01/04/2024)
01/05/2024   102   REPLY to 100 Response filed by Defendant Bitmain Technologies Georgia Limited.
                   (Lenhart, Khale) (Entered: 01/05/2024)
01/10/2024   103   ORDER Setting Aside Default Against Defendant Bitmain Technologies Georgia
                   Limited by the Honorable Alan B. Johnson granting 81 Motion to Set Aside Entry of
                   Default, finding as moot 99 Motion to Strike. The 69 Entry of Default against
                   Defendant is VACATED. (Court Staff, sbh) (Entered: 01/10/2024)
01/10/2024   104   (TEXT−ONLY) ORDER by the Honorable Kelly H Rankin. The Court held an
                   informal discovery conference regarding two subpoenas issued by Defendant
                   MineOne Wyoming Data Center LLC over jurisdictional issues. Plaintiff objected to
                   the subpoenas, arguing the time allowed by Judge Johnson for jurisdictional
                   discovery had passed. The Court overruled Plaintiff's objections, agreeing with
                   Defendant's interpretation of Judge Johnson's statements from the initial pretrial
                   conference. James Quid has been served with a subpoena and shall respond within 14
                   days. Tim Desrochers is expected to be served soon and will respond within 14 days
                   of service. All other jurisdictional discovery shall be served by February 23, 2024.
                   (Court Staff, sjdl) (Entered: 01/10/2024)
01/17/2024   105   RETURN of Subpoena by Defendants Bit Origin Ltd, MineOne Partners LLC,
                   MineOne Wyoming Data Center LLC, SonicHash LLC, Terra Crypto Inc, Counter


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                   Claimants Bit Origin Ltd, MineOne Partners LLC, MineOne Wyoming Data Center
                   LLC, SonicHash LLC, Terra Crypto Inc upon Tim Desrochers on 1/15/2024.
                   (Larson, Sean) (Entered: 01/17/2024)
01/18/2024   106   NOTICE of Intent to Serve First Amended Subpoena Duces Tecum by Plaintiff BCB
                   Cheyenne LLC (Attachments: # 1 Exhibit A) (Murphy, Patrick) (Attachment 1
                   flattened and replaced on 1/18/2024) (Court Staff, stmo). Modified text on 1/18/2024
                   (Court Staff, stmo). (Entered: 01/18/2024)
01/24/2024   107   NOTICE of Withdrawal of Subpoenas by Plaintiff BCB Cheyenne LLC (Murphy,
                   Patrick) (Entered: 01/24/2024)
01/24/2024   108   NOTICE of Compliance with Records Subpoena by Respondent James Quid by
                   Plaintiff BCB Cheyenne LLC (Attachments: # 1 Exhibit 1 and 2) (Murphy, Patrick)
                   (Entered: 01/24/2024)
01/24/2024   109   NOTICE of Records Subpoena with Amended Exhibit A to Jared Olsen by Plaintiff
                   BCB Cheyenne LLC (Attachments: # 1 Exhibit Records Subpoena with Amended
                   Exhibit A) (Murphy, Patrick) (Attachment 1 flattened and replaced on 1/25/2024)
                   (Court Staff, stmo). Modified text on 1/25/2024 (Court Staff, stmo). (Entered:
                   01/24/2024)
01/29/2024   110   NOTICE of Compliance with Records Subpoena by Respondent Tim Desrochers by
                   Plaintiff BCB Cheyenne LLC (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit
                   3, # 4 Exhibit 4) (Murphy, Patrick) (Entered: 01/29/2024)
02/03/2024   111   RETURN of Subpoena for Records by Plaintiff BCB Cheyenne LLC upon Jared
                   Olsen on 2/1/2024. (Murphy, Patrick) (Entered: 02/03/2024)
02/08/2024   112   STIPULATION re 74 Order on Motion for Protective Order by Bitmain
                   Technologies Georgia Limited. (Lenhart, Khale) (Entered: 02/08/2024)
02/09/2024   113   (TEXT−ONLY) ORDER by the Honorable Kelly H Rankin. The Court held an
                   informal discovery conference on 2/8/2024 to address a number of concerns raised by
                   Plaintiff. Those concerns primarily relate to Request for Production numbers 2, 3, 4,
                   6, 35, 36, and 39 that Plaintiff served Defendant MineOne in December 2023 and a
                   request for additional interrogatories in excess of the 25 allowed under Fed. R. Civ.
                   P. 33(a)(1). Defendant MineOne represented it would be prepared to answer Request
                   for Production numbers 2, 3, and 4 on or before 2/18/2024; that it had fully
                   responded to Request for Production number 6; would supplement its answers to
                   Request for Production numbers 35, 36, and 39 on or before 2/14/2024; and objected
                   to the number and breadth of additional interrogatories Plaintiff seeks. MineOne
                   additionally raised an issue regarding the identity of a person that Plaintiff has
                   knowledge of, containing information it wishes to subpoena. Plaintiff stated it has
                   objections but would respond to the request for the identity on or before 2/12/2024.
                   The Court directed the parties to respond to the respective requests within the dates
                   provided, to include any objections each party may have. It further ordered the parties
                   to confer on the interrogatory number and breadth issue by phone or
                   videoconference. If such conferral is unsuccessful, Plaintiff may file a motion to
                   compel and for additional interrogatories. (Court Staff, sjdl) (Entered: 02/09/2024)
02/09/2024   114   NOTICE of Service of Subpoena to Testify at Deposition by Counter
                   Claimants/Defendants MineOne Partners LLC, MineOne Wyoming Data Center
                   LLC, Terra Crypto Inc (Attachments: # 1 Deposition Subpoena) (Larson, Sean)
                   Modified text on 2/12/2024 (Court Staff, stmo). (Entered: 02/09/2024)


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02/09/2024   115   NOTICE of Service of Subpoena to Produce Documents by Counter
                   Claimants/Defendants MineOne Partners LLC, MineOne Wyoming Data Center
                   LLC, Terra Crypto Inc (Attachments: # 1 Subpoena, # 2 Exhibit Ex. A) (Larson,
                   Sean) Modified text on 2/12/2024 (Court Staff, stmo). (Entered: 02/09/2024)
02/12/2024   116   NOTICE of Service of Subpoena to Produce Documents by Counter
                   Claimants/Defendants MineOne Partners LLC, MineOne Wyoming Data Center
                   LLC, Terra Crypto Inc (Attachments: # 1 Subpoena Duce Tecum, # 2 Exhibit Ex. A)
                   (Larson, Sean) Modified text on 2/12/2024 (Court Staff, stmo). (Entered: 02/12/2024)
02/21/2024   117   NOTICE of Attorney Appearance by Meggan Hathaway on behalf of Bit Origin Ltd,
                   SonicHash LLC (Hathaway, Meggan) (Entered: 02/21/2024)
02/21/2024   118   MOTION REFERRED TO Judge Kelly H Rankin. MOTION for Marc S. Gottlieb to
                   appear pro hac vice; Check tendered; filed by Defendants Bit Origin Ltd, SonicHash
                   LLC, Counter Claimants Bit Origin Ltd, SonicHash LLC. (Attachments: # 1 Exhibit,
                   # 2 Proposed Order)(Hathaway, Meggan) (Attachment 1 flattened and replaced on
                   2/21/2024) (Court Staff, stmo). Modified text on 2/21/2024 (Court Staff, stmo).
                   (Entered: 02/21/2024)
02/21/2024   119   NOTICE of Attorney Appearance by Jane Marie France on behalf of Bit Origin Ltd,
                   SonicHash LLC (France, Jane) (Entered: 02/21/2024)
02/21/2024   120   ORDER by the Honorable Kelly H. Rankin granting 118 MOTION for Marc S.
                   Gottlieb to appear pro hac vice on behalf of Defendants and Counter Claimants Bit
                   Origin Ltd, SonicHash LLC (Order emailed to phv counsel on this date) (Court Staff,
                   sbh) (Entered: 02/21/2024)
02/21/2024         FINANCIAL ENTRY: PAYMENT OF $100 RECEIVED FOR PRO HAC VICE
                   FEE FOR MARC S. GOTTLIEB RECEIPT 2−2726 (Court Staff, smek) (Entered:
                   02/21/2024)
02/22/2024   121   NOTICE of Withdrawal as Counsel by Bit Origin Ltd, SonicHash LLC (Hartman,
                   Kari) Modified filers and text on 2/26/2024 (Court Staff, sbh). (Entered: 02/22/2024)
02/22/2024   122   RETURN of unexecuted Subpoenas Duces Tecum (3) upon Timothy Desrochers
                   (posted to door) by Counter Claimants/Defendants MineOne Partners LLC, MineOne
                   Wyoming Data Center LLC, Terra Crypto Inc. (Hartman, Kari) Modified text on
                   2/23/2024 (Court Staff, stmo). (Entered: 02/22/2024)
02/23/2024   123   MOTION REFERRED TO Judge Kelly H Rankin MOTION to Vacate Order on
                   Initial Pretrial Conference and Set a New Scheduling Conference filed by Defendant
                   Bitmain Technologies Georgia Limited. (Attachments: # 1 Proposed Order) (Lenhart,
                   Khale) Modified on 2/23/2024 (Court Staff, ssw). Termed on 4/25/2024 (Court Staff,
                   sbh). (Entered: 02/23/2024)
02/23/2024         Motions No Longer Referred: 123 MOTION to Vacate Order on Initial Pretrial
                   Conference and Set a New Scheduling Conference (Court Staff, ssw) (Entered:
                   02/23/2024)
02/23/2024   124   MOTION REFERRED TO Judge Kelly H Rankin. MOTION to Compel Discovery
                   from Defendants MineOne and Terra Crypto filed by Plaintiff BCB Cheyenne LLC.
                   (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, #(5)
                   DISREGARD − To be Refiled Exhibit 5 #(6) DISREGARD − To be Refiled Exhibit
                   6 # 7 Exhibit 7, # 8 Proposed Order) (Murphy, Patrick) Modified on 2/27/2024
                   (Court Staff, sbh). (Entered: 02/23/2024)

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02/23/2024   125   MOTION REFERRED TO Judge Kelly H Rankin MOTION to Vacate Scheduling
                   Order filed by Defendants Bit Origin Ltd, SonicHash LLC, Counter Claimants Bit
                   Origin Ltd, SonicHash LLC. (Attachments: # 1 Proposed Order) (Hathaway,
                   Meggan) Modified on 2/26/2024 (Court Staff, ssw). Termed on 4/25/2024 (Court
                   Staff, sbh). (Entered: 02/23/2024)
02/26/2024         Motions No Longer Referred: 125 MOTION to Vacate Scheduling Order. (Court
                   Staff, ssw) (Entered: 02/26/2024)
02/26/2024   126   (TEXT−ONLY) ORDER by the Honorable Kelly H Rankin. The Court held an
                   informal conference regarding the ongoing jurisdictional discovery issues in this
                   case. After hearing argument from counsel, the Court granted an additional 21 days
                   for Defendant MineOne to serve any subpoenas or other discovery requests relating
                   to the jurisdictional issues. Defendant MineOne shall work to narrow its requests to
                   conform with the scope and proportionality of discovery allowed under Rule 26.
                   Following service, any objections can be made at a further conference call with the
                   Court or by filing a motion to quash. Expert Disclosure deadlines are stayed until
                   Judge Johnson rules on the pending motions to vacate the scheduling order. (Court
                   Staff, sjdl) (Entered: 02/26/2024)
02/28/2024   127   NOTICE for Service of Subpoena to Testify at Deposition by Counter Claimants
                   MineOne Partners LLC, MineOne Wyoming Data Center LLC, Terra Crypto Inc,
                   Defendants MineOne Partners LLC, MineOne Wyoming Data Center LLC, Terra
                   Crypto Inc (Attachments: # 1 Subpoena to Testify at a Deposition) (Larson, Sean)
                   (Entered: 02/28/2024)
02/28/2024   128   NOTICE of Service of Subpoena to Produce Documents by Counter Claimants
                   MineOne Partners LLC, MineOne Wyoming Data Center LLC, Terra Crypto Inc,
                   Defendants MineOne Partners LLC, MineOne Wyoming Data Center LLC, Terra
                   Crypto Inc (Attachments: # 1 Subpoena to Produce Documents) (Larson, Sean)
                   (Entered: 02/28/2024)
02/29/2024   129   Notice of Pro Hac Vice Attorney Appearance by Marc S Gottlieb, I on behalf of Bit
                   Origin Ltd (Gottlieb, Marc) (Entered: 02/29/2024)
02/29/2024   130   Notice of Pro Hac Vice Attorney Appearance by Marc S Gottlieb, I on behalf of
                   SonicHash LLC (Gottlieb, Marc) (Entered: 02/29/2024)
02/29/2024   131   (TEXT−ONLY) NOTICE of Hearing: VIA ZOOM −

                   NOTE:

                   1. This proceeding will be held via Zoom Video/Web Conferencing with all
                   participants appearing remotely;the Zoom ID and Passcode will be provided
                   separately to the participants email address of record.

                   2. Participants should connect to the proceeding 15 minutes prior to its scheduled
                   start time to allow for troubleshooting of any connectivity issues.

                   3. To ensure the record is of the best quality, participants are encouraged to utilize a
                   headset to reduce static and background noise. If not using a headset, participants
                   must ensure the audio feed at their location is muted when not speaking.

                   ***REMINDER: Recording or broadcasting of this hearing is prohibited. ***


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                   Status Conference set for 3/14/2024 at 1:30 PM before Honorable Alan B
                   Johnson. (Court Staff, ssw) (Entered: 02/29/2024)
02/29/2024   132   ERRATA re 124 MOTION to Compel Discovery from Defendants MineOne and
                   Terra Crypto by Plaintiff BCB Cheyenne LLC. (Attachments: # 1 Exhibit 5
                   (Revised), # 2 Exhibit 6 (Revised)) (Murphy, Patrick) (Entered: 02/29/2024)
03/01/2024   133   REQUEST for Hearing on 124 Plaintiff's Motion to Compel Discovery by Counter
                   Claimants MineOne Partners LLC, MineOne Wyoming Data Center LLC, Terra
                   Crypto Inc, Defendants MineOne Partners LLC, MineOne Wyoming Data Center
                   LLC, Terra Crypto Inc. (Attachments: # 1 Proposed Order) (Hartman, Kari) Modified
                   link and text on 3/4/2024 (Court Staff, stmo). Modified text on 3/4/2024 (Court Staff,
                   sbh). (Entered: 03/01/2024)
03/04/2024   134   (TEXT−ONLY) NOTICE of Hearing (1 Hour) on 124 MOTION to Compel
                   Discovery from Defendants MineOne and Terra Crypto VIA ZOOM −

                   NOTE:

                   1. This proceeding will be held via Zoom Video/Web Conferencing with all
                   participants appearing remotely; the Zoom ID and Passcode will be provided
                   separately to the participants email address of record.

                   2. Participants should connect to the proceeding 15 minutes prior to its scheduled
                   start time to allow for troubleshooting of any connectivity issues.

                   3. To ensure the record is of the best quality, participants are encouraged to utilize a
                   headset to reduce static and background noise. If not using a headset, participants
                   must ensure the audio feed at their location is muted when not speaking.

                   ***REMINDER: Recording or broadcasting of this hearing is prohibited. ***

                   Motion Hearing set for 3/21/2024 at 02:00 PM before Honorable Kelly H
                   Rankin. (Court Staff, smxb) (Entered: 03/04/2024)
03/06/2024   135   Notice Vacating Hearing: Status Conference set for 3/14/2024 at 1:30 PM before
                   Honorable Alan B Johnson is VACATED and will be reset after the Motion Hearing
                   currently set for 3/21/24 before Honorable Kelly Rankin. (Court Staff, ssw) (Entered:
                   03/06/2024)
03/07/2024   136   MOTION REFERRED TO Judge Kelly H Rankin. MOTION for David Iden, Sherin
                   Parikh, Kaitie Farrell to appear pro hac vice; Check not tendered; filed by Defendant
                   Bitmain Technologies Georgia Limited. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3
                   Exhibit, # 4 Proposed Order)(Lenhart, Khale) (Entered: 03/07/2024)
03/07/2024   137   MOTION REFERRED TO Judge Kelly H Rankin. MOTION for Extension of Time
                   (Non−Dispositive) requesting extension of of time to respond to Plaintiffs Motion to
                   Compel Discovery filed by Counter Claimants/Defendants MineOne Partners LLC,
                   MineOne Wyoming Data Center LLC, Terra Crypto Inc. (Attachments: # 1 Proposed
                   Order)(Hartman, Kari) Modified text on 3/8/2024 (Court Staff, stmo). (Entered:
                   03/07/2024)
03/08/2024   138


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                   (TEXT−ONLY) ORDER by the Honorable Kelly H Rankin granting 137 Motion for
                   Extension of Time. Defendants MineOne Wyoming Data Center LLC, MineOne
                   Partners LLC, and Terra Crypto Inc. have up to and including March 13, 2024 in
                   which to respond to Plaintiff's 124 Motion to Compel. (Court Staff, sjgc) (Entered:
                   03/08/2024)
03/08/2024   139   ORDER by the Honorable Kelly H. Rankin granting 136 MOTION for David Iden,
                   Sherin Parikh and Kaitie Farrell to appear pro hac vice on behalf of Defendant
                   Bitmain Technologies Georgia Limited (Order emailed to phv counsel on this date)
                   (Court Staff, sbh) (Entered: 03/08/2024)
03/08/2024   140   RESPONSE in Opposition re 123 MOTION to Vacate Order on Initial Pretrial
                   Conference and Set a New Scheduling Conference filed by Counter Defendant BCB
                   Cheyenne LLC. (Murphy, Patrick) (Entered: 03/08/2024)
03/08/2024   141   Notice of Pro Hac Vice Attorney Appearance by Kaitlyn Farrell on behalf of Bitmain
                   Technologies Georgia Limited (Farrell, Kaitlyn) (Entered: 03/08/2024)
03/08/2024   142   Notice of Pro Hac Vice Attorney Appearance by David Iden on behalf of Bitmain
                   Technologies Georgia Limited (Iden, David) (Entered: 03/08/2024)
03/08/2024   143   Notice of Pro Hac Vice Attorney Appearance by Sherin Parikh on behalf of Bitmain
                   Technologies Georgia Limited (Parikh, Sherin) (Entered: 03/08/2024)
03/11/2024   144   (TEXT−ONLY) ORDER by the Honorable Kelly H Rankin. The Court has received
                   written communications from counsel relating to the February 26, 2024, discovery
                   conference and their attempt to resolve the issue without Court intervention. Because
                   the parties have not reached an agreement, they shall submit simultaneous briefing on
                   or before March 18, 2024, regarding the outstanding jurisdictional discovery issues.
                   (Court Staff, sjdl) (Entered: 03/11/2024)
03/13/2024   145   OPPOSITION to 124 Motion to Compel filed by Counter Claimants MineOne
                   Partners LLC, MineOne Wyoming Data Center LLC, Terra Crypto Inc, Defendants
                   MineOne Partners LLC, MineOne Wyoming Data Center LLC, Terra Crypto Inc.
                   (Attachments: # 1 Exhibit A − 2024−02−07 − Response to P. Murphy 1−24−24
                   Deficiency Letters, # 2 Exhibit B − 2.11.24 Email, # 3 Exhibit C − 2024−02−21 −
                   Response to P. Murphy 2−15−24 Objections Letter, # 4 Exhibit D − (Murphy 2.25.24
                   email), # 5 Exhibit E − 2024−02−26 email re Informal Discovery Call re_ BCB v.
                   MineOne et al., # 6 Affidavit Declaration of Alex Inman − Opposition to Plaintiff's
                   Motion to Compel, # 7 Exhibit Inman Decl. Ex. A − 2024−02−16 A. Inman email, #
                   8 Exhibit Inman Decl. Ex. B − BCB v MineOne et al − MineOne Defendants'
                   Supplemental Document Production) (Larson, Sean) Modified text on 3/14/2024
                   (Court Staff, stmo). (Entered: 03/13/2024)
03/15/2024   146   REPLY to 140 Response in Opposition to Motion filed by Defendant Bitmain
                   Technologies Georgia Limited. (Lenhart, Khale) (Entered: 03/15/2024)
03/15/2024   147   NOTICE OF JOINDER in 125 Motion to Vacate, 123 Motion to Vacate by Counter
                   Claimants MineOne Partners LLC, MineOne Wyoming Data Center LLC, Terra
                   Crypto Inc, Defendants MineOne Partners LLC, MineOne Wyoming Data Center
                   LLC, Terra Crypto Inc (Attachments: # 1 Exhibit A, # 2 Exhibit B) (Larson, Sean)
                   Modified text on 3/15/2024 (Court Staff, stmo). (Entered: 03/15/2024)
03/18/2024   148   Supplemental BRIEF Regarding Jurisdictional Discovery filed by Counter Claimants
                   MineOne Partners LLC, MineOne Wyoming Data Center LLC, Terra Crypto Inc,


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                   Defendants MineOne Partners LLC, MineOne Wyoming Data Center LLC, Terra
                   Crypto Inc. (Attachments: # 1 Exhibit A − 2023−12−13 − MineOne's AMENDED
                   1st Set of Doc. Req. to Plaintiff, # 2 Exhibit B − Email re Rush Service, # 3 Exhibit C
                   − Email re Service on Tim_Redacted, # 4 Exhibit D − 2024−02−28 − Doc. 128 −
                   NOTICE & Subpoena, # 5 Exhibit E − FRS Status email as of 3−13−2024, # 6
                   Exhibit F − FRS Status email as of 3−15−2024, # 7 Exhibit G − 2024−03−05 − P.
                   Murphy letter, # 8 Exhibit H − 2024−03−08 − P. Murphy letter) (Larson, Sean)
                   Modified text on 3/20/2024 (Court Staff, stmo). (Entered: 03/18/2024)
03/18/2024   149   BRIEF on the Limited Scope and Extent of Any Jurisdictional Discovery filed by
                   Plaintiff BCB Cheyenne LLC. (Attachments: # 1 Exhibit A, # 2 Exhibit B) (Murphy,
                   Patrick) (Entered: 03/18/2024)
03/18/2024   150   MEMORANDUM on Limited Discovery re (144) Order filed by Defendants/Counter
                   Claimants Bit Origin Ltd, SonicHash LLC (Gottlieb, Marc) Modified text on
                   3/20/2024 (Court Staff, stmo). Added filer and modified text on 3/20/2024 (Court
                   Staff, sbh). (Entered: 03/18/2024)
03/21/2024   151   Designation of Expert Witnesses by Plaintiff BCB Cheyenne LLC. (Attachments: # 1
                   Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3) (Murphy, Patrick) (Entered: 03/21/2024)
03/21/2024   152   MINUTES for proceedings held before District Judge Kelly H Rankin: Court heard
                   arguments from parties regarding the pending motion to compel 124 . Written
                   guidance to be provided by the Court. Motion Hearing held on 3/21/2024. (Court
                   Reporter Jan Davis.) (Court Staff, smxb) (Entered: 03/22/2024)
03/25/2024   153   RETURN of Unexecuted Subpoena upon Timothy Desrochers non−served by
                   Counter Claimants MineOne Partners LLC, MineOne Wyoming Data Center LLC,
                   Terra Crypto Inc, Defendants MineOne Partners LLC, MineOne Wyoming Data
                   Center LLC, Terra Crypto Inc (Hartman, Kari) Modified text on 3/26/2024 (Court
                   Staff, stmo). Modified text on 4/1/2024 (Court Staff, sbh). (Entered: 03/25/2024)
03/27/2024   154   ORDER by the District Judge Kelly H Rankin ON PLAINTIFF'S 124 MOTION TO
                   COMPEL AND JURISDICTIONAL DISCOVERY BRIEFING. Having heard oral
                   argument on the Motion to Compel and reviewed the briefing on jurisdictional
                   discovery, the Court grants the Motion to Compel in Part, grants alternative service,
                   and orders jurisdictional discovery to proceed as described in the attached Order.
                   (Court Staff, sjgc) Added link to docket text on 4/1/2024 (Court Staff, sbh). (Entered:
                   03/27/2024)
04/09/2024         FINANCIAL ENTRY: $100 Pro Hac Vice Fee Paid (Receipt #2−2923 for the total
                   amount received of $300) on behalf of David Iden, Sherin Parikh, and Kaitie Farrell.
                   (Court Staff, stmo) (Entered: 04/09/2024)
04/10/2024   155   APPEAL OF MAGISTRATE ORDER re 154 Order on Motion to Compel by BCB
                   Cheyenne LLC (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit
                   D) (Murphy, Patrick) Modified text on 4/10/2024 (Court Staff, stmo). Modified text
                   on 4/10/2024 (Court Staff, sbh). (Entered: 04/10/2024)
04/11/2024   156   ORDER by the Honorable Alan B. Johnson denying without prejudice 155 Appeal of
                   Magistrate Order. Plaintiff may renew its appeal as a motion for reconsideration
                   before Judge Rankin. (Court Staff, sbh) (Entered: 04/11/2024)
04/11/2024   157   (TEXT−ONLY) NOTICE of Hearing on 125 MOTION to Vacate Scheduling Order,
                   123 MOTION to Vacate Order on Initial Pretrial Conference and Set a New


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                   Scheduling Conference VIA ZOOM −

                   NOTE:

                   1. This proceeding will be held via Zoom Video/Web Conferencing with all
                   participants appearing remotely;the Zoom ID and Passcode will be provided
                   separately to the participants email address of record.

                   2. Participants should connect to the proceeding 15 minutes prior to its scheduled
                   start time to allow for troubleshooting of any connectivity issues.

                   3. To ensure the record is of the best quality, participants are encouraged to utilize a
                   headset to reduce static and background noise. If not using a headset, participants
                   must ensure the audio feed at their location is muted when not speaking.

                   ***REMINDER: Recording or broadcasting of this hearing is prohibited. ***

                   Motion Hearing set for 4/25/2024 at 1:30 PM before Honorable Alan B Johnson.
                   (Court Staff, ssw) (Entered: 04/11/2024)
04/11/2024   158   MOTION for Reconsideration re 154 Order on Motion to Compel filed by Plaintiff
                   BCB Cheyenne LLC. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4
                   Exhibit D) (Murphy, Patrick) (Entered: 04/11/2024)
04/17/2024   159   (TEXT−ONLY) ORDER by the US Magistrate Judge Stephanie A Hambrick. On
                   April 16, 2024, the Court held an informal telephonic discovery conference to discuss
                   issues surrounding the deposition of non−party, Tim Desrochers, which had been set
                   for Wednesday, April 17, 2024, upon notice by Defendant MineOne Wyoming Data
                   Center LLC. Defendants wished to reset the deposition after requests by Plaintiff to
                   limit the scope of the deposition. After hearing from the parties, the Court granted the
                   Defendants request and reset the deposition for Tuesday April 23, 2024, beginning at
                   8:00 or 9:00 a.m., Plaintiffs choice. The Court further ordered that the deposition
                   shall be limited in scope to matters solely related to jurisdiction. The deposition shall
                   be set for seven (7) hours. Defendants, collectively, are allocated five (5) hours total
                   and Plaintiff shall be allocated two (2) hours of cross examination. The deposition is
                   not to be reset or cancelled without permission from the Court. (Court Staff, sjlw)
                   (Entered: 04/17/2024)
04/17/2024   160   MOTION REFERRED TO Judge Stephanie A Hambrick. MOTION for Daniel
                   Hirsch to appear pro hac vice; Check not tendered; filed by Defendant Bitmain
                   Technologies Georgia Limited. (Attachments: # 1 Exhibit, # 2 Proposed
                   Order)(Lenhart, Khale) (Entered: 04/17/2024)
04/17/2024   161   ORDER by the US Magistrate Judge Stephanie A. Hambrick granting 160 MOTION
                   for Daniel Hirsch to appear pro hac vice on behalf of Defendant Bitmain
                   Technologies Georgia Limited (Order emailed to phv counsel on this date) (Court
                   Staff, sbh) (Entered: 04/17/2024)
04/18/2024   162   Notice of Pro Hac Vice Attorney Appearance by Daniel Hirsch on behalf of Bitmain
                   Technologies Georgia Limited (Filing fee $ 100, receipt number AWYDC−2416650)
                   (Hirsch, Daniel) (Entered: 04/18/2024)
04/25/2024   163   MINUTES for proceedings held before Honorable Alan B. Johnson: Motion Hearing
                   held on 4/25/2024 (Court Reporter: Melanie Sonntag) (Court Staff, sbh) (Entered:

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                   04/25/2024)
04/25/2024   164   REVISED SCHEDULING ORDER by the Honorable Alan B. Johnson. Rule 12(b)
                   Motions to Dismiss filing deadline 5/10/2024. Responses due by 5/17/2024.
                   Hearing on Rule 12(b) Motions to Dismiss set for 5/22/2024 10:30 AM by ZOOM
                   before Honorable Alan B. Johnson.
                   Expert Witness Designation−Defendant deadline 7/15/2024. Discovery due by
                   9/17/2024.
                   Dispositive Motions filing deadline 10/4/2024. Dispositive Motion response deadline
                   10/18/2024. Replies due by 10/25/2024.
                   All Other Pretrial Motions deadline 10/18/2024. All Other Pretrial Motions Response
                   Deadline 11/1/2024. All Other Pretrial Motions Reply Deadline 11/8/2024.
                   Joint Final Pretrial Memorandum due by 11/8/2024. Motion in Limine deadline
                   11/8/2024. Motions in Limine Response Deadline 11/22/2024. Motions in Limine
                   Reply Deadline 12/2/2024. Mediation Deadline 10/30/2024.
                   Final Pretrial Conference set for 1/10/2025 09:30 AM in Cheyenne Courtroom
                   No. 2 (Room No. 2116) before Honorable Alan B. Johnson.
                   10−day Bench Trial set for 1/27/2025 09:30 AM in Cheyenne Courtroom No. 2
                   (Room No. 2116) before Honorable Alan B. Johnson. (Court Staff, sbh) (Entered:
                   04/25/2024)
04/25/2024   165   OPPOSITION to 158 Motion for Reconsideration filed by Defendants MineOne
                   Wyoming Data Center LLC, Terra Crypto Inc. (Inman, Alex) (Entered: 04/25/2024)
04/26/2024   166   NOTICE of Service of Subpoenas by Defendants/Counter Claimants MineOne
                   Partners LLC, MineOne Wyoming Data Center LLC, Terra Crypto Inc (Attachments:
                   # 1 Subpoena− The Accounting Factor, # 2 Subpoena−Orange Theory, # 3
                   Subpoena− Progressive Ins) (Larson, Sean) Modified filers and text on 4/29/2024
                   (Court Staff, stmo). Modified text on 4/29/2024 (Court Staff, sbh). (Entered:
                   04/26/2024)
05/01/2024   167   RETURN of Subpoena Orange Theory upon Lindsey Kinniburgh Manager of Orange
                   Theory on April 30, 2024 by Counter Claimants MineOne Partners LLC, MineOne
                   Wyoming Data Center LLC, Terra Crypto Inc, Defendants MineOne Partners LLC,
                   MineOne Wyoming Data Center LLC, Terra Crypto Inc (Larson, Sean) (Entered:
                   05/01/2024)
05/02/2024   168   REPLY BRIEF to 165 Opposition re 154 Judge Rankin's Order on Plaintiff's Motion
                   to Compel filed by Plaintiff BCB Cheyenne LLC. (Attachments: # 1 Exhibit A −
                   Non−Public, # 2 Exhibit B − Non−Public, # 3 Exhibit C, # 4 Exhibit D −
                   Non−Public, # 5 Exhibit E − Non−Public, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H
                   − Non−Public) (Murphy, Patrick) Modified link and text on 5/2/2024 (Court Staff,
                   stmo). Modified text on 5/3/2024 (Court Staff, sbh). (Entered: 05/02/2024)
05/02/2024   169   NON−PUBLIC DOCUMENT pursuant to the Judicial Conference Policy on Privacy
                   and Public Access − EXHIBITS A, B, D, E and H in reference to 168 Reply Brief
                   filed by Plaintiff BCB Cheyenne LLC. (Attachments: # 1 Exhibit A, # 2 Exhibit B, #
                   3 Exhibit D, # 4 Exhibit E, # 5 Exhibit H) (Murphy, Patrick) Modified text on
                   5/3/2024 (Court Staff, sbh). (Entered: 05/02/2024)
05/06/2024   170   RETURN of Subpoena Duces Tecum on Progressive Casualty Insurance Company
                   upon Mikayla Kranzusch of CT Corp on April 30, 2024 by Defendants/Counter
                   Claimants MineOne Partners LLC, MineOne Wyoming Data Center LLC, Terra
                   Crypto Inc (Larson, Sean) Modified text on 5/6/2024 (Court Staff, stmo). Modified


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                   text on 5/7/2024 (Court Staff, sbh). Modified text on 5/9/2024 (Court Staff, stmo).
                   (Entered: 05/06/2024)
05/07/2024   171   ORDER by the District Judge Kelly H Rankin. Defendant MineOne shall produce the
                   July 27, 2023, Loan and Security Agreement to the Court for in camera review as
                   soon as possible, but no later than May 13, 2024. (Court Staff, sjdl) (Entered:
                   05/07/2024)
05/08/2024   172   NOTICE of Compliance with Court Order and Unopposed MOTION to File
                   Documents as Non−Public by Plaintiff BCB Cheyenne LLC (Attachments: # 1
                   Proposed Order, # 2 Exhibit 1, # 3 Exhibit 2) (Murphy, Patrick) Modified to add
                   requested motion relief on 5/8/2024 (Court Staff, sbh). (Entered: 05/08/2024)
05/09/2024   173   RETURN of Subpoena Duces Tecum The Accounting Factor upon Peng Lim Legal
                   Agent for The Accounting Factor on 05/06/2024 by Defendants/Counter Claimants
                   MineOne Partners LLC, MineOne Wyoming Data Center LLC, Terra Crypto Inc.
                   (Larson, Sean) Modified text on 5/9/2024 (Court Staff, stmo). (Entered: 05/09/2024)
05/09/2024   174   ORDER by the Honorable Alan B. Johnson granting 172 Motion to File Non−Public
                   Documents. Deposition, deposition exhibits and jurisdictional documents and
                   memoranda may be filed as non−public. (Court Staff, sbh) (Entered: 05/09/2024)
05/10/2024   175   MOTION to Dismiss for Lack of Jurisdiction filed by Defendants Bit Origin Ltd,
                   SonicHash LLC. (Hathaway, Meggan) Modified event on 5/13/2024 (Court Staff,
                   sbh). (Entered: 05/10/2024)
05/10/2024   176   NON−PUBLIC DOCUMENT pursuant to the Judicial Conference Policy on Privacy
                   and Public Access − MEMORANDUM in Support of 175 Motion to Dismiss/Lack of
                   Jurisdiction filed by Defendants Bit Origin Ltd, SonicHash LLC. (Attachments: # 1
                   Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, #
                   7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11 Exhibit K, # 12 Exhibit
                   L) (Hathaway, Meggan) Modified text on 5/13/2024 (Court Staff, sbh). (Attachments
                   1−10 and Attachment 12 flattened and replaced on 5/14/2024) (Court Staff, stmo).
                   Modified text on 5/14/2024 (Court Staff, stmo). (Entered: 05/10/2024)
05/10/2024   177   NON−PUBLIC DOCUMENT pursuant to the Judicial Conference Policy on Privacy
                   and Public Access − EXHIBIT M and EXHIBITS N − W in reference to 176
                   Memorandum in Support of Motion filed by Defendants Bit Origin Ltd, SonicHash
                   LLC. (Attachments: # 1 Exhibit N, # 2 Exhibit O, # 3 Exhibit P, # 4 Exhibit Q, # 5
                   Exhibit R, # 6 Exhibit S, # 7 Exhibit T, # 8 Exhibit U, # 9 Exhibit V, # 10 Exhibit W)
                   (Hathaway, Meggan) Modified text on 5/13/2024 (Court Staff, sbh). (Main
                   Document 177 and Attachments 1−4 and 6−10 flattened and replaced on 5/15/2024)
                   (Court Staff, stmo). Modified text on 5/15/2024 (Court Staff, stmo). (Entered:
                   05/10/2024)
05/10/2024   178   MOTION to Dismiss for Lack of Jurisdiction filed by Defendants/Counter Claimants
                   MineOne Partners LLC, MineOne Wyoming Data Center LLC, Terra Crypto Inc.
                   (Larson, Sean) Modified text on 5/14/2024 (Court Staff, stmo). (Entered: 05/10/2024)
05/10/2024   179   NON−PUBLIC DOCUMENT pursuant to the Judicial Conference Policy on Privacy
                   and Public Access − MEMORANDUM in Support of 178 Motion to Dismiss/Lack of
                   Jurisdiction filed by Counter Claimants MineOne Partners LLC, MineOne Wyoming
                   Data Center LLC, Terra Crypto Inc, Defendants MineOne Partners LLC, MineOne
                   Wyoming Data Center LLC, Terra Crypto Inc. (Attachments: # 1 Exhibit 1 −
                   Desrochers Deposition, # 2 Exhibit 2 − 2023−03−16 − Chancery Ct Complant, # 3


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                   Exhibit 3 − 2023−08−08 − email to Murphy, # 4 Exhibit 4 − 2023−08−12 − email to
                   Murphy, # 5 Exhibit 5 − 2023−12−11 − P. Murphy letter to S. Larson, # 6 Exhibit 6 −
                   2024−01−09 − Murphy email to Court, # 7 Exhibit 7 − 2024−01−12 − Murphy email
                   re Subpoena − Desrochers, # 8 Exhibit 8 − 2024−02−12 − BCB and Tim Desrochers
                   Objections, # 9 Exhibit 9 − 2024−02−15 Murphy email & letter, # 10 Exhibit 10 −
                   Desrochers_5, # 11 Exhibit 11 − Desrochers_22, # 12 Exhibit 12 − Kia Spectra
                   ownership, # 13 Exhibit 13 − DESROCHERS 00596, # 14 Exhibit 14 −
                   DESROCHERS 00380, # 15 Exhibit 15 − DESROCHERS 00253 − REVISED, # 16
                   Exhibit 16 − Desrochers_25 − REDACTED, # 17 Exhibit 17 − Desrochers_18−19, #
                   18 Exhibit 18 − Desrochers_9, # 19 Exhibit 19 − Desrochers_10_12 − REVISED, #
                   20 Exhibit 20 − DESROCHERS 00379_536, # 21 Exhibit 21 − DESROCHERS
                   00637, # 22 Exhibit 22 − DESROCHERS 00312, # 23 Exhibit 23 − DESROCHERS
                   00305, # 24 Exhibit 24 − DESROCHERS 00538_598_601, # 25 Exhibit 25 −
                   Desrochers_16, # 26 Exhibit 26 − Desrochers_13, # 27 Exhibit 27 − Ally Bank, # 28
                   Exhibit 28 − DESROCHERS 00855, # 29 Exhibit 29 − DESROCHERS 00773, # 30
                   Exhibit 30 − Desrochers_23a−23c, # 31 Exhibit 31 − 143 − DESROCHERS 01318, #
                   32 Exhibit 32 − DESROCHERS 00220, # 33 Exhibit 33 − DESROCHERS
                   00291_501, # 34 Exhibit 34 − DESROCHERS 00382 − APEX, # 35 Exhibit 35 −
                   DESROCHERS 00348 − Vanguard, # 36 Exhibit 36 − DESROCHERS 01236, # 37
                   Exhibit 37 − TimDesrochers_7, # 38 Exhibit 38 − Desrochers_9, # 39 Exhibit 39 −
                   Desrochers_10−17, # 40 Exhibit 40 − DESROCHERS 01415, # 41 Exhibit 41 − Tim
                   D Drake Intake (004), # 42 Exhibit 42 − Tim Desrochers Account Details, # 43
                   Exhibit 43 − Timothy Desrochers OTF Payment Histor1, # 44 Exhibit 44 − 101 −
                   DESROCHERS 00678, # 45 Exhibit 45 − 053 −DESROCHERS 00510, # 46 Exhibit
                   46 − RE List of other BCB Cheyenne LLC Members and their States of
                   Residence_Redacted, # 47 Exhibit 47 − Desrochers_6) (Larson, Sean) Modified text
                   on 5/13/2024 (Court Staff, sbh). (Entered: 05/10/2024)
05/13/2024   180   NON−PUBLIC DOCUMENT pursuant to the Judicial Conference Policy on Privacy
                   and Public Access − MEMORANDUM in Opposition to 178 MOTION to Dismiss
                   for Lack of Jurisdiction filed by Plaintiff BCB Cheyenne LLC. (Attachments: # 1
                   Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F1,
                   # 7 Exhibit F2, # 8 Exhibit G1, # 9 Exhibit G2, # 10 Exhibit G3, # 11 Exhibit G4, #
                   12 Exhibit H, # 13 Exhibit I, # 14 Exhibit J, # 15 Exhibit K, # 16 Exhibit L, # 17
                   Exhibit M, # 18 Exhibit N, # 19 Exhibit O, # 20 Exhibit P, # 21 Exhibit Q, # 22
                   Exhibit R, # 23 Exhibit S, # 24 Exhibit T, # 25 Exhibit U, # 26 Exhibit V, # 27
                   Exhibit W, # 28 Exhibit AA, # 29 Exhibit BB, # 30 Exhibit CC, # 31 Exhibit DD, #
                   32 Exhibit EE, # 33 Exhibit FF, # 34 Exhibit GG, # 35 Exhibit HH, # 36 Exhibit II, #
                   37 Exhibit JJ, # 38 Exhibit KK, # 39 Exhibit LL, # 40 Exhibit MM, # 41 Exhibit NN,
                   # 42 Exhibit OO, # 43 Exhibit PP, # 44 Exhibit QQ, # 45 Exhibit RR, # 46 Exhibit
                   SS, # 47 Exhibit TT, # 48 Exhibit UU, # 49 Exhibit VV, # 50 Exhibit WW, # 51
                   Exhibit XX, # 52 Exhibit YY, # 53 Exhibit ZZ, # 54 Exhibit AAA, # 55 Exhibit
                   BBB) (Murphy, Patrick) (Entered: 05/13/2024)
05/15/2024   181   NOTICE of Intent to Serve Subpoena Duces Tecum by Plaintiff BCB Cheyenne LLC
                   (Attachments: # 1 Subpoena Duces Tecum, # 2 Exhibit A to Subpoena) (Murphy,
                   Patrick) (Entered: 05/15/2024)
05/15/2024   182   MOTION REFERRED TO Judge Stephanie A Hambrick Emergency MOTION for
                   Protective Order with Prejudgment Writs of Attachment and Garnishment filed by
                   Plaintiff BCB Cheyenne LLC. (Attachments: # 1 Exhibit A: Affidavit of Michael
                   Murphy on Emergency Motion, # 2 Exhibit B: Affidavit of Michael Murphy on
                   Merits, # 3 Exhibit C: Affidavit of Stephen Randall, # 4 Exhibit D: Purchase and Sale

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                   Agreement, # 5 Exhibit E: Presidential Order, # 6 Exhibit F: Bitmain/CleanSpark
                   Sales and Purchase Agreement, # 7 Proposed Order Granting Protective Order on
                   Plaintiff BCB Cheyenne LLC's Emergency Motion for Writs of Prejudgment
                   Attachment and Garnishment) (Murray, Scott) Modified on 5/16/2024 (Court Staff,
                   ssw). Modified text on 5/23/2024 (Court Staff, sbh). Modified text on 6/3/2024
                   (Court Staff, sbh). (Entered: 05/15/2024)
05/16/2024   183   NOTICE of Withdrawal of Appearance by Defendants MineOne Partners LLC,
                   MineOne Wyoming Data Center LLC, Terra Crypto Inc (Perry, Sarah) (Entered:
                   05/16/2024)
05/16/2024         182 MOTION for Protective Order REFERRED to Magistrate Judge Mark L.
                   Carman. (Court Staff, sal) (Entered: 05/16/2024)
05/16/2024   184   (TEXT−ONLY) NOTICE of Hearing: BY TELEPHONE − All parties shall appear
                   by telephone through the Courts conference call system. Guests call: 307/735−3644,
                   Access code 557993669#. Status Conference set for 5/17/2024 10:30 AM in
                   Cheyenne Courtroom No. 3 (Room No. 2104) before the Honorable Alan B
                   Johnson and the Honorable Mark L. Carman. (Court Staff, sal) (Entered:
                   05/16/2024)
05/16/2024         Motions No Longer Referred: 182 MOTION for Protective Order (Court Staff, ssw)
                   (Entered: 05/16/2024)
05/17/2024   185   RESPONSE Notice of Non−Opposition to 178 Motion to Dismiss/Lack of
                   Jurisdiction, 175 Motion to Dismiss/Lack of Jurisdiction filed by Defendant Bitmain
                   Technologies Georgia Limited. (Lenhart, Khale) (Entered: 05/17/2024)
05/17/2024   186   MINUTES for proceedings held before Honorable Alan B Johnson: Status
                   Conference held on 5/17/2024. (Court Reporter Melanie Sonntag.) (Court Staff, sal)
                   (Entered: 05/17/2024)
05/17/2024   187   (TEXT−ONLY) ORDER by the US Magistrate Judge Mark L Carman. Informal
                   discovery hearing was held regarding additional discovery on jurisdiction,
                   specifically the deposition of James Frees, the owner of the residence Mr. Descrocher
                   asserts as his domicile. A Motion to Dismiss is pending before this Court regarding
                   lack of jurisdiction with the critical issue being the residence of Mr. Desrocher. A
                   hearing on the motion is set on May 22, 2024, less that one week from the date of this
                   conference. Defendant MineOne issued a notice of deposition for Jim Frees on April
                   16, 2024. Since that time, Defendant has been unable to serve the subpoena and
                   relates that it appears that Mr. Frees is avoiding service. The subpoena remains
                   unserved at the time of this conference and Defendant MineOne could not assure
                   service and deposition could be completed prior to the scheduled hearing on May 22,
                   2024. There were similar problems with gaining service on Mr. Desrocher which
                   required Defendant MineOne to seek the intervention of this Court to obtain his
                   deposition. Significantly, Defendant MineOne filed a timely notice of deposition and
                   sought intervention of this Court to gain service of the subpoena when avoidance was
                   apparent. Defendant MineOne did not seek the deposition of Mr. Frees until the
                   matter was raised by Plaintiff in a discovery conference less than a week prior to the
                   hearing on the Motion to Dismiss. Defendant MineOne's late request for the
                   deposition of Mr. James Frees, and failure to seek intervention of the Court to gain
                   service of the subpoena until this late date and well after the discovery cutoff for
                   jurisdictional discovery, does not justify this court allowing this deposition to
                   proceed.


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                   Further, MineOne has subpoenaed records from Progressive Insurance Company
                   related to jurisdiction. Progressive has not yet provided those documents and Plaintiff
                   failed to produce those documents in response to discovery requests. Defendant
                   MineOne may submit those documents for the Court's consideration if they are
                   received prior to this Court's decision regarding jurisdiction. (Court Staff, sal)
                   Modified text on 5/20/2024 (Court Staff, sbh). (Entered: 05/17/2024)
05/17/2024   188   RESPONSE in Opposition re 175 MOTION to Dismiss for Lack of Jurisdiction filed
                   by Plaintiff BCB Cheyenne LLC. (Murray, Scott) (Entered: 05/17/2024)
05/20/2024   189   NOTICE Procedural Opposition to Setting Emergency Hearing and Expedited
                   Briefing re Motion for a Protective Order 182 by Defendants MineOne Partners
                   LLC, MineOne Wyoming Data Center LLC, Terra Crypto Inc (Colbath, Paula)
                   (Entered: 05/20/2024)
05/20/2024   190   ORDER by the District Judge Kelly H Rankin denying 158 Motion for
                   Reconsideration re 154 Order on Motion to Compel. Plaintiff's Motion is denied for
                   the reasons stated herein. Notwithstanding the denial, the Court clarifies its prior
                   order on some issues, and issues directives for how the parties shall proceed on
                   discovery of the WeChat Messages. (Court Staff, sjdl) (Entered: 05/20/2024)
05/20/2024   191   REPLY to 189 Notice Procedural Opposition filed by Plaintiff BCB Cheyenne LLC.
                   (Attachments: # 1 Exhibit A, # 2 Exhibit B) (Murphy, Patrick) Modified text on
                   5/21/2024 (Court Staff, sbh). (Entered: 05/20/2024)
05/21/2024   192   SUPPLEMENT re 182 Emergency Motion for Protective Order filed by Plaintiff
                   BCB Cheyenne LLC. (Attachments: # 1 Exhibit A, # 2 Exhibit B) (Murphy, Patrick)
                   Modified text on 5/21/2024 (Court Staff, stmo). (Entered: 05/21/2024)
05/22/2024   193   MINUTES for proceedings held before Honorable Alan B Johnson: Motion Hearing
                   held on 5/22/2024. 175 and 178 Motions to Dismiss taken under advisement. (Court
                   Reporter Melanie Sonntag.) (Court Staff, szf) (Entered: 05/22/2024)
05/23/2024   194   ORDER re 182 EMERGENCY MOTION for Protective Order by the Honorable
                   Alan B. Johnson. The Court will reserve its ruling until the motion has been properly
                   briefed and upon the conclusion of a hearing. (Court Staff, ssw) Modified text on
                   5/23/2024 (Court Staff, sbh). (Entered: 05/23/2024)
05/24/2024   195   NON−PUBLIC DOCUMENT pursuant to the Judicial Conference Policy on Privacy
                   and Public Access − MEMORANDUM in Opposition to 182 MOTION for
                   Protective Order filed by Counter Claimants MineOne Partners LLC, MineOne
                   Wyoming Data Center LLC, Terra Crypto Inc, Defendants MineOne Partners LLC,
                   MineOne Wyoming Data Center LLC, Terra Crypto Inc. (Attachments: # 1 Affidavit,
                   # 2 Exhibit 1− Hosting & Services Agreement, # 3 Exhibit 2− Presidential Order, # 4
                   Exhibit 3− Purchase & Sale Agreement, # 5 Exhibit 4− Services Framework Agmt, #
                   6 Exhibit 5− Disclosure Sched for CleanSpark, # 7 Exhibit 6− MineOne EIM
                   Imbalance Power Agrmt, # 8 Exhibit 7− Antalpha UCC Search, # 9 Exhibit 8−
                   Email) (Larson, Sean) (Entered: 05/24/2024)
05/29/2024   196   NON−PUBLIC DOCUMENT pursuant to the Judicial Conference Policy on Privacy
                   and Public Access − SUPPLEMENT re 178 Motion to Dismiss/Lack of Jurisdiction
                   filed by Counter Claimants/Defendants MineOne Partners LLC, MineOne Wyoming
                   Data Center LLC, Terra Crypto Inc. (Attachments: # 1 Exhibit Progressive Insurance
                   Documents) (Larson, Sean) Modified text on 5/30/2024 (Court Staff, stmo). Modified


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                   links on 5/30/2024 (Court Staff, sbh). (Entered: 05/29/2024)
05/31/2024   197   MOTION REFERRED TO Judge Stephanie A Hambrick. MOTION for Leave to File
                   Excess Pages regarding Amended Emergency Motion for Prejudgment Writs of
                   Attachment and Garnishment filed by Counter Defendant BCB Cheyenne LLC.
                   (Attachments: # 1 Exhibit Proposed Amended Emergency Motion, # 2 Proposed
                   Order)(Murray, Scott) Modified text on 5/31/2024 (Court Staff, stmo). (Entered:
                   05/31/2024)
05/31/2024   198   NON−PUBLIC DOCUMENT pursuant to the Judicial Conference Policy on Privacy
                   and Public Access − STATUS REPORT by MineOne Partners LLC, MineOne
                   Wyoming Data Center LLC, Terra Crypto Inc. (Attachments: # 1 Exhibit A −
                   Contract) (Colbath, Paula) (Entered: 05/31/2024)
05/31/2024   199   (TEXT−ONLY) NOTICE of Hearing on 182 MOTION for Protective Order VIA
                   ZOOM −

                   NOTE:

                   1. This proceeding will be held via Zoom Video/Web Conferencing with all
                   participants appearing remotely;the Zoom ID and Passcode will be provided
                   separately to the participants email address of record.

                   2. Participants should connect to the proceeding 15 minutes prior to its scheduled
                   start time to allow for troubleshooting of any connectivity issues.

                   3. To ensure the record is of the best quality, participants are encouraged to utilize a
                   headset to reduce static and background noise. If not using a headset, participants
                   must ensure the audio feed at their location is muted when not speaking.

                   ***REMINDER: Recording or broadcasting of this hearing is prohibited. ***

                   Motion Hearing set for 6/7/2024 01:30 PM before Honorable Alan B Johnson.
                   (Court Staff, ssw) (Entered: 05/31/2024)
05/31/2024   200   Amended NOTICE of Intent to Serve Amended Subpoena Duces Tecum by Plaintiff
                   BCB Cheyenne LLC (Attachments: # 1 Exhibit Amended Subpoena Duces Tecum, #
                   2 Exhibit Amended Exhibit A to Subpoena) (Murphy, Patrick) (Attachment 1
                   flattened and replaced replaced on 6/3/2024) (Court Staff, stmo). Modified text on
                   6/3/2024 (Court Staff, stmo). (Entered: 05/31/2024)
05/31/2024   201   NOTICE of Intent to Serve Subpoena Duces Tecum by Plaintiff BCB Cheyenne LLC
                   (Attachments: # 1 Subpoena Duces Tecum, # 2 Exhibit A to Subpoena) (Murphy,
                   Patrick)(Attachment 1 flattened and replaced replaced on 6/3/2024) (Court Staff,
                   stmo). Modified text on 6/3/2024 (Court Staff, stmo). (Entered: 05/31/2024)
06/03/2024         197 MOTION for Leave to File Excess Pages regarding Amended Emergency
                   Motion for Prejudgment Writs of Attachment and Garnishment REFERRED to
                   Magistrate Judge Mark L. Carman. (Court Staff, sal) (Entered: 06/03/2024)
06/03/2024   202   ORDER by the US Magistrate Judge Mark L Carman granting 197 Motion to File
                   Excess Pages. Plaintiff is granted leave to file its 17−page Amended Emergency
                   Motion. (Court Staff, sal) (Entered: 06/03/2024)
06/03/2024   203

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                   MOTION REFERRED TO Judge Stephanie A Hambrick AMENDED Emergency
                   MOTION for Prejudgment Writs of Attachment and Garnishment filed by Plaintiff
                   BCB Cheyenne LLC. (Attachments: # 1 Exhibit A (Non−Public), # 2 Exhibit B)
                   (Murphy, Patrick) Modified on 6/3/2024 (Court Staff, ssw). Modified text on
                   6/3/2024 (Court Staff, sbh). (Entered: 06/03/2024)
06/03/2024   204   NON−PUBLIC DOCUMENT pursuant to the Judicial Conference Policy on Privacy
                   and Public Access − EXHIBIT A in reference to 203 Amended Emergency Motion
                   for Prejudgment Writs of Attachment and Garnishment filed by Plaintiff BCB
                   Cheyenne LLC. (Attachments: # 1 Exhibit A) (Murphy, Patrick) (Entered:
                   06/03/2024)
06/03/2024         Motions No Longer Referred: 203 AMENDED Emergency MOTION for
                   Prejudgment Writs of Attachment and Garnishment (Court Staff, ssw) Modified text
                   on 6/3/2024 (Court Staff, sbh). (Entered: 06/03/2024)
06/04/2024   205   MOTION REFERRED TO Judge Stephanie A Hambrick NON−PUBLIC
                   DOCUMENT pursuant to the Judicial Conference Policy on Privacy and Public
                   Access − MOTION to Vacate/Reset Motion Hearing and Set Briefing Deadline re
                   182 MOTION for Protective Order filed by Counter Claimants/Defendants MineOne
                   Partners LLC, MineOne Wyoming Data Center LLC, Terra Crypto Inc.
                   (Attachments: # 1 Exhibit A, # 2 Proposed Order)(Larson, Sean) Modified text on
                   6/4/2024 (Court Staff, stmo). Motion unreferred on 6/4/2024 (Court Staff, ssw).
                   (Entered: 06/04/2024)
06/04/2024         Motions No Longer Referred: 205 MOTION to Vacate/Reset Motion Hearing and
                   Set Briefing Deadline re 182 MOTION for Protective Order (Court Staff, ssw)
                   Modified text on 6/5/2024 (Court Staff, sbh). (Entered: 06/04/2024)
06/05/2024   206   RESPONSE in Opposition re 205 MOTION to Vacate/Reset Motion Hearing and Set
                   Briefing Deadline re 182 MOTION for Protective Order filed by Plaintiff BCB
                   Cheyenne LLC. (Murray, Scott) Modified text on 6/5/2024 (Court Staff, sbh).
                   (Entered: 06/05/2024)
06/05/2024   207   NOTICE of Intent to Serve Second Amended Subpoena Duces Tecum by Plaintiff
                   BCB Cheyenne LLC (Attachments: # 1 Exhibit Second Amended Subpoena Duces
                   Tecum, # 2 Exhibit Second Amended Exhibit A to Subpoena Duces Tecum)
                   (Murphy, Patrick) (Attachment 1 flattened and replaced on 6/5/2024) (Court Staff,
                   stmo). Modified text on 6/5/2024 (Court Staff, stmo). (Entered: 06/05/2024)
06/05/2024   208   NOTICE of Intent to Serve Third Amended Subpoena Duces Tecum by Plaintiff BCB
                   Cheyenne LLC (Attachments: # 1 Exhibit Third Amended Subpoena Duces Tecum, #
                   2 Exhibit Third Amended Exhibit A to Subpoena Duces Tecum) (Murphy, Patrick)
                   (Attachment 1 flattened and replaced on 6/5/2024) (Court Staff, stmo). Modified text
                   on 6/5/2024 (Court Staff, stmo). (Entered: 06/05/2024)
06/05/2024   209   NON−PUBLIC DOCUMENT pursuant to the Judicial Conference Policy on Privacy
                   and Public Access − REPLY to 206 Response in Opposition to Motion filed by
                   Defendants MineOne Partners LLC, MineOne Wyoming Data Center LLC, Terra
                   Crypto Inc. (Colbath, Paula) (Entered: 06/05/2024)
06/06/2024   210   (TEXT−ONLY) ORDER by the US Magistrate Judge Mark L Carman. On June 6,
                   2024, the Honorable Mark L. Carman held an informal discovery conference with
                   representatives of each party. The Court explained the purpose of the informal
                   conference process, and asked the parties as to the status of discovery production.


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                   The Plaintiff was granted leave to file its discovery motion as to any remaining
                   issues. (Court Staff, sjbo) (Entered: 06/06/2024)
06/06/2024   211   Notice Vacating Hearing: Motion Hearing set for 6/7/2024 at 1:30 is VACATED.
                   Hearing will be reset by separate order. (Court Staff, ssw) (Entered: 06/06/2024)
06/10/2024   212   MOTION REFERRED TO Judge Stephanie A Hambrick. MOTION to Withdraw as
                   Attorney Kaitie Farrell filed by Defendant Bitmain Technologies Georgia Limited.
                   (Attachments: # 1 Proposed Order)(Lenhart, Khale) (Entered: 06/10/2024)
06/10/2024   213   ORDER by the US Magistrate Judge Mark L. Carman granting 212 Motion to
                   Withdraw as Attorney. Attorney Kaitlyn Farrell terminated. (Court Staff, sbh)
                   (Entered: 06/10/2024)
06/10/2024   214   MOTION REFERRED TO Judge Stephanie A Hambrick. Expedited MOTION to
                   Compel Discovery from MineOne Defendants filed by Plaintiff BCB Cheyenne LLC.
                   (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit
                   E − Non−Public, # 6 Proposed Order, # 7 Proposed Order) (Murphy, Patrick)
                   Modified text on 6/11/2024 (Court Staff, sbh). (Entered: 06/10/2024)
06/10/2024   215   NON−PUBLIC DOCUMENT pursuant to the Judicial Conference Policy on Privacy
                   and Public Access − EXHIBIT E in reference to 214 Expedited Motion to Compel
                   Discovery from the MineOne Defendants filed by Plaintiff BCB Cheyenne LLC.
                   (Attachments: # 1 Exhibit E) (Murphy, Patrick) Modified text on 6/11/2024 (Court
                   Staff, sbh). (Entered: 06/10/2024)
06/11/2024   216   NOTICE of Intent to Serve Subpoena Duces Tecum Upon Cheyenne Light, Fuel and
                   Power Co. d/b/a Black Hills Energy by Plaintiff BCB Cheyenne LLC (Attachments:
                   # 1 Subpoena Duces Tecum, # 2 Exhibit A) (Murphy, Patrick) (Attachment 1
                   flattened and replaced on 6/12/2024) (Court Staff, stmo). Modified text on 6/12/2024
                   (Court Staff, stmo). (Entered: 06/11/2024)
06/13/2024   217   ORDER by the Honorable Alan B. Johnson granting 205 Motion to Vacate and Reset
                   Hearing and Set Briefing Deadline. See order for filing deadlines. (Court Staff, sbh)
                   (Entered: 06/13/2024)
06/13/2024   218   (TEXT−ONLY) NOTICE of Hearing on 182 Emergency MOTION for Protective
                   Order with Prejudgment Writs of Attachment and Garnishment VIA ZOOM −

                   NOTE:

                   1. This proceeding will be held via Zoom Video/Web Conferencing with all
                   participants appearing remotely; the Zoom ID and Passcode will be provided
                   separately to the participants email address of record.

                   2. Participants should connect to the proceeding 15 minutes prior to its scheduled
                   start time to allow for troubleshooting of any connectivity issues.

                   3. To ensure the record is of the best quality, participants are encouraged to utilize a
                   headset to reduce static and background noise. If not using a headset, participants
                   must ensure the audio feed at their location is muted when not speaking.

                   ***REMINDER: Recording or broadcasting of this hearing is prohibited***

                   Motion Hearing reset for 6/26/2024 at 1:30 PM before Honorable Alan B.

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                   Johnson. (Court Staff, sbh) (Entered: 06/13/2024)
06/14/2024   219   (TEXT−ONLY) ORDER requiring responses to 214 Expedited MOTION to Compel
                   Discovery from MineOne Defendants filed by BCB Cheyenne LLC by the US
                   Magistrate Judge Mark L Carman. Defendants shall file responses to the Motion to
                   Compel on or before 6/19/24. (Court Staff, sal) (Entered: 06/14/2024)
06/17/2024   220   NOTICE of Service of Subpoenas by Counter Claimants MineOne Partners LLC,
                   MineOne Wyoming Data Center LLC, Terra Crypto Inc, Defendants MineOne
                   Partners LLC, MineOne Wyoming Data Center LLC, Terra Crypto Inc (Attachments:
                   # 1 Subpoena to Phippen, # 2 Subpoena to Patterson, # 3 Subpoena Randall)
                   (Hartman, Kari) (Entered: 06/17/2024)
06/17/2024   221   MEMORANDUM in Opposition to 203 AMENDED Emergency MOTION for
                   Prejudgment Writs of Attachment and Garnishment filed by Counter Claimants
                   MineOne Partners LLC, MineOne Wyoming Data Center LLC, Terra Crypto Inc,
                   Defendants MineOne Partners LLC, MineOne Wyoming Data Center LLC, Terra
                   Crypto Inc. (Attachments: # 1 Exhibit A, # 2 Exhibit B) (Larson, Sean) Modified text
                   on 6/24/2024 (Court Staff, sbh). (Entered: 06/17/2024)
06/18/2024   230   MINUTES for proceedings held before US Magistrate Judge Mark L Carman:
                   Informal Discovery Conference held on 6/18/2024. (Court Staff, sal) (Entered:
                   06/20/2024)
06/19/2024   222   MEMORANDUM in Opposition to 214 Motion to Compel filed by Defendants
                   MineOne Partners LLC, MineOne Wyoming Data Center LLC, Terra Crypto Inc.
                   (Attachments: # 1 Exhibit 1 − 6.2.24 Conferral Letter, # 2 Exhibit 2 − Plaintiff's Rs
                   and Os) (Colbath, Paula) Modified text on 6/24/2024 (Court Staff, sbh). (Entered:
                   06/19/2024)
06/19/2024   223   NOTICE of Intent to Serve Subpoenas to Appear and Testify at a Hearing by Plaintiff
                   BCB Cheyenne LLC (Attachments: # 1 Subpoena to Appear and Testify − Chong
                   Wang, # 2 Subpoena to Appear and Testify − Huaili Zhang, # 3 Subpoena to Appear
                   and Testify − Jaiming Li, # 4 Subpoena to Appear and Testify − Lianfei Du, # 5
                   Subpoena to Appear and Testify − Ziyao Shao) (Murphy, Patrick) (Attachments 1−5
                   flattened and replaced on 6/21/2024) (Court Staff, stmo). Modified text on 6/21/2024
                   (Court Staff, stmo). (Entered: 06/19/2024)
06/19/2024   224   Exhibit/Witness List For Evidentiary Hearing by Defendants MineOne Partners
                   LLC, MineOne Wyoming Data Center LLC, Terra Crypto Inc. (Colbath, Paula)
                   (Entered: 06/19/2024)
06/19/2024   225   NON−PUBLIC DOCUMENT pursuant to the Judicial Conference Policy on Privacy
                   and Public Access − Exhibit/Witness List for 6/26/24 Evidentiary Hearing by
                   Plaintiff BCB Cheyenne LLC. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit
                   3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit
                   9, # 10 Exhibit 10, # 11 Exhibit 11, # 12 Exhibit 12, # 13 Exhibit 13, # 14 Exhibit 14,
                   # 15 Exhibit 15, # 16 Exhibit 16, # 17 Exhibit 17, # 18 Exhibit 18, # 19 Exhibit 19, #
                   20 Exhibit 20, # 21 Exhibit 21, # 22 Exhibit 22, # 23 Exhibit 23, # 24 Exhibit 24)
                   (Murray, Scott) (Entered: 06/19/2024)
06/20/2024   226   NOTICE of Service of Subpoena by Counter Claimants MineOne Partners LLC,
                   MineOne Wyoming Data Center LLC, Terra Crypto Inc, Defendants MineOne
                   Partners LLC, MineOne Wyoming Data Center LLC, Terra Crypto Inc (Attachments:
                   # 1 Exhibit Subpoena) (Hartman, Kari) (Entered: 06/20/2024)


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06/20/2024   227   RETURN of Subpoena Neil Phippen by Counter Claimants MineOne Partners LLC,
                   MineOne Wyoming Data Center LLC, Terra Crypto Inc, Defendants MineOne
                   Partners LLC, MineOne Wyoming Data Center LLC, Terra Crypto Inc upon Neil
                   Phippen on June 19, 2024. (Hartman, Kari) (Entered: 06/20/2024)
06/20/2024   228   RETURN of Subpoena Emory Patterson by Counter Claimants MineOne Partners
                   LLC, MineOne Wyoming Data Center LLC, Terra Crypto Inc, Defendants MineOne
                   Partners LLC, MineOne Wyoming Data Center LLC, Terra Crypto Inc upon Emory
                   Patterson on June 19, 2024. (Hartman, Kari) (Entered: 06/20/2024)
06/20/2024   229   RETURN of Subpoena Stephen Randall by Counter Claimants MineOne Partners
                   LLC, MineOne Wyoming Data Center LLC, Terra Crypto Inc, Defendants MineOne
                   Partners LLC, MineOne Wyoming Data Center LLC, Terra Crypto Inc upon Stephen
                   Randall on June 19, 2024. (Hartman, Kari) (Entered: 06/20/2024)
06/20/2024   231   NON−PUBLIC DOCUMENT pursuant to the Judicial Conference Policy on Privacy
                   and Public Access − Amended Exhibit/Witness List for 6/26/2024 Evidentiary
                   Hearing by Defendants MineOne Partners LLC, MineOne Wyoming Data Center
                   LLC, Terra Crypto Inc (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4
                   Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, #
                   10 Exhibit 10, # 11 Exhibit 11, # 12 Exhibit 12, # 13 Exhibit 13, # 14 Exhibit 14, #
                   15 Exhibit 15, # 16 Exhibit 16, # 17 Exhibit 17, # 18 Exhibit 18, # 19 Exhibit 19, #
                   20 Exhibit 20, # 21 Exhibit 21, # 22 Exhibit 22, # 23 Exhibit 23, # 24 Exhibit 24, #
                   25 Exhibit 25, # 26 Exhibit 26, # 27 Exhibit 27, # 28 Exhibit 28, # 29 Exhibit 29)
                   (Colbath, Paula) Modified text on 6/24/2024 (Court Staff, sbh). (Entered:
                   06/20/2024)
06/21/2024   232   MOTION REFERRED TO Judge Stephanie A Hambrick. MOTION for Leily
                   Lashkari to appear pro hac vice; Check not tendered; filed by Counter Claimants
                   MineOne Partners LLC, MineOne Wyoming Data Center LLC, Terra Crypto Inc,
                   Defendants MineOne Partners LLC, MineOne Wyoming Data Center LLC, Terra
                   Crypto Inc. (Attachments: # 1 Affidavit, # 2 Proposed Order)(Larson, Sean) (Entered:
                   06/21/2024)
06/21/2024   233   MOTION REFERRED TO Judge Stephanie A Hambrick. MOTION for David
                   Forrest to appear pro hac vice; Check not tendered; filed by Counter Claimants
                   MineOne Partners LLC, MineOne Wyoming Data Center LLC, Terra Crypto Inc,
                   Defendants MineOne Partners LLC, MineOne Wyoming Data Center LLC, Terra
                   Crypto Inc. (Attachments: # 1 Affidavit, # 2 Proposed Order)(Larson, Sean) (Entered:
                   06/21/2024)
06/21/2024   234   (TEXT−ONLY) ORDER by the Honorable Alan B Johnson. Upon request from the
                   parties via email, the following procedures will apply to the Motion Hearing
                   presently scheduled for 6/26/2024 at 1:30 PM before Honorable Alan B. Johnson.
                   Each party may make an opening statement, limited to ten minutes. Each party is
                   allotted no more than one hour and thirty minutes to present witnesses and evidence.
                   Each party shall be allotted no more than twenty minutes to present a closing
                   argument. The evidentiary hearing and oral argument on 203 AMENDED
                   Emergency MOTION for Prejudgment Writs of Attachment and Garnishment filed
                   by Plaintiff BCB Cheyenne LLC shall be completed on June 26, 2024, with a ruling
                   to follow. (Court Staff, ssw) (Entered: 06/21/2024)
06/24/2024   235   ORDER by the US Magistrate Judge Stephanie A. Hambrick granting 232 , 233
                   MOTIONS for Leily Lashkari and David Forrest to appear pro hac vice on behalf of


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                   Defendants/Counter Claimants Terra Crypto Inc, MineOne Wyoming Data Center
                   LLC, MineOne Partners LLC (Order emailed to phv counsel on this date) (Court
                   Staff, sbh) (Entered: 06/24/2024)
06/24/2024   236   MOTION REFERRED TO Judge Stephanie A Hambrick. MOTION for Leave to File
                   Excess Pages regarding Reply Brief Supporting its Amended Emergency Motion
                   filed by Plaintiff BCB Cheyenne LLC. (Attachments: # 1 Exhibit A, # 2 Proposed
                   Order)(Murray, Scott) (Entered: 06/24/2024)
06/24/2024   237   NON−PUBLIC DOCUMENT pursuant to the Judicial Conference Policy on Privacy
                   and Public Access − Second Amended Exhibit/Witness List by Defendants MineOne
                   Partners LLC, MineOne Wyoming Data Center LLC, Terra Crypto Inc.
                   (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5,
                   # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10, # 11
                   Exhibit 11, # 12 Exhibit 12, # 13 Exhibit 13, # 14 Exhibit 14, # 15 Exhibit 15, # 16
                   Exhibit 16, # 17 Exhibit 17, # 18 Exhibit 18, # 19 Exhibit 19, # 20 Exhibit 20, # 21
                   Exhibit 21, # 22 Exhibit 22, # 23 Exhibit 23, # 24 Exhibit 24, # 25 Exhibit 25, # 26
                   Exhibit 26, # 27 Exhibit 27, # 28 Exhibit 28, # 29 Exhibit 29, # 30 Exhibit 30, # 31
                   Exhibit 31, # 32 Exhibit 32, # 33 Exhibit 33, # 34 Exhibit 34, # 35 Exhibit 35, # 36
                   Exhibit 36, # 37 Exhibit 37, # 38 Exhibit 38, # 39 Exhibit 39, # 40 Exhibit 40, # 41
                   Exhibit 41, # 42 Exhibit 42, # 43 Exhibit 43, # 44 Exhibit 44, # 45 Exhibit 45)
                   (Colbath, Paula) (Entered: 06/24/2024)
06/24/2024   238   MOTION REFERRED TO Judge Stephanie A Hambrick. MOTION for Extension of
                   Time (Non−Dispositive) requesting extension of Time to Designate Expert Witnesses
                   filed by Counter Claimants MineOne Partners LLC, MineOne Wyoming Data Center
                   LLC, Terra Crypto Inc, Defendants MineOne Partners LLC, MineOne Wyoming
                   Data Center LLC, Terra Crypto Inc. (Attachments: # 1 Proposed Order)(Hartman,
                   Kari) (Entered: 06/24/2024)
06/24/2024   239   (See 258 Order) NON−PUBLIC DOCUMENT pursuant to the Judicial Conference
                   Policy on Privacy and Public Access − Third Amended Exhibit/Witness List by
                   Defendants MineOne Partners LLC, MineOne Wyoming Data Center LLC, Terra
                   Crypto Inc. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, #
                   5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10,
                   # 11 Exhibit 11, # 12 Exhibit 12, # 13 Exhibit 13, # 14 Exhibit 14, # 15 Exhibit 15, #
                   16 Exhibit 16, # 17 Exhibit 17, # 18 Exhibit 18, # 19 Exhibit 19, # 20 Exhibit 20, #
                   21 Exhibit 21, # 22 Exhibit 22, # 23 Exhibit 23, # 24 Exhibit 24, # 25 Exhibit 25, #
                   26 Exhibit 26, # 27 Exhibit 27, # 28 Exhibit 28, # 29 Exhibit 29, # 30 Exhibit 30, #
                   31 Exhibit 31, # 32 Exhibit 32, # 33 Exhibit 33, # 34 Exhibit 34, # 35 Exhibit 35, #
                   36 Exhibit 36, # 37 Exhibit 37, # 38 Exhibit 38, # 39 Exhibit 39, # 40 Exhibit 40, #
                   41 Exhibit 41, # 42 Exhibit 42, # 43 Exhibit 43, # 44 Exhibit 44, # 45 Exhibit 45, #
                   46 Exhibit 46) (Colbath, Paula) Modified on 7/1/2024 (Court Staff, sbh). (Entered:
                   06/24/2024)
06/24/2024   240   ORDER granting 236 Motion to File Leave to File an Over−Length Reply Brief by
                   US Magistrate Judge Mark L. Carman. Plaintiff BCB Cheyenne LLC is hereby
                   granted leave to file its 15−page Reply Brief today in support of its Amended
                   Emergency Motion. (Court Staff, szf) (Entered: 06/24/2024)
06/24/2024   241   MOTION REFERRED TO Judge Stephanie A Hambrick. MOTION for Joinder −
                   Non−Dispositive NOTICE of Joinder in 238 Defendants Mineone Wyoming Data
                   Center LLC, Mineone Partners LLC and Terra Crypto Inc's Request for Extension of
                   Time to Designate Expert Witnesses filed by Defendant Bitmain Technologies

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                   Georgia Limited. (Lenhart, Khale) Modified event and added link on 7/3/2024 (Court
                   Staff, sbh). (Entered: 06/24/2024)
06/24/2024   242   NON−PUBLIC DOCUMENT pursuant to the Judicial Conference Policy on Privacy
                   and Public Access − REPLY BRIEF re 203 AMENDED Emergency MOTION for
                   Prejudgment Writs of Attachment and Garnishment filed by Plaintiff BCB Cheyenne
                   LLC. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit, # 6
                   Exhibit) (Murray, Scott) Modified text on 6/25/2024 (Court Staff, sbh). (Entered:
                   06/24/2024)
06/25/2024   243   MOTION REFERRED TO Judge Stephanie A Hambrick. MOTION to Strike the
                   MineOne Defendants' Newly Listed Witness and Seventeen New Exhibits re 239
                   Third Amended Exhibit/Witness List filed by Plaintiff BCB Cheyenne LLC.
                   (Attachments: # 1 Exhibit A, # 2 Proposed Order) (Murphy, Patrick) Modified text
                   on 6/25/2024 (Court Staff, sbh). (Entered: 06/25/2024)
06/25/2024   244   Notice of Pro Hac Vice Attorney Appearance by Leily Lashkari on behalf of
                   MineOne Partners LLC, MineOne Wyoming Data Center LLC, Terra Crypto Inc
                   (Lashkari, Leily) (Entered: 06/25/2024)
06/25/2024   245   Notice of Pro Hac Vice Attorney Appearance by David A Forrest on behalf of
                   MineOne Partners LLC, MineOne Wyoming Data Center LLC, Terra Crypto Inc
                   (Forrest, David) (Entered: 06/25/2024)
06/25/2024   246   MOTION REFERRED TO Judge Stephanie A Hambrick. NON−PUBLIC
                   DOCUMENT pursuant to the Judicial Conference Policy on Privacy and Public
                   Access − MOTION to Strike The Amended Emergency Motion Affidavits of
                   Michael Murphy and Emory Patterson filed by Counter Claimants MineOne Partners
                   LLC, MineOne Wyoming Data Center LLC, Terra Crypto Inc, Defendants MineOne
                   Partners LLC, MineOne Wyoming Data Center LLC, Terra Crypto Inc.
                   (Attachments: # 1 Proposed Order)(Larson, Sean) (Entered: 06/25/2024)
06/25/2024   247   OPPOSITION to 243 Motion to Strike filed by Defendants MineOne Partners LLC,
                   MineOne Wyoming Data Center LLC, Terra Crypto Inc. (Colbath, Paula) (Entered:
                   06/25/2024)
06/25/2024   248   REPLY to 247 Opposition filed by Plaintiff BCB Cheyenne LLC. (Attachments: # 1
                   Exhibit A) (Murray, Scott) (Entered: 06/25/2024)
06/26/2024   249   RETURN of Subpoena upon SEAN MURPHY on NON−SERVED by Counter
                   Claimants MineOne Partners LLC, MineOne Wyoming Data Center LLC, Terra
                   Crypto Inc, Defendants MineOne Partners LLC, MineOne Wyoming Data Center
                   LLC, Terra Crypto Inc (Larson, Sean) (Entered: 06/26/2024)
06/26/2024   250   Amended Minutes filed. See docket entry 256 . MINUTES for proceedings held
                   before Honorable Alan B Johnson: Motion Hearing held on 6/26/2024 re 182
                   Emergency MOTION for Protective Order with Prejudgment Writs of Attachment
                   and Garnishment and 203 Amended Emergency MOTION for Prejudgment Writs of
                   Attachment and Garnishment (Court Reporter Melaine Sonntag). (Court Staff, stmo)
                   Modified text on 6/28/2024 (Court Staff, stmo). Added links on 6/28/2024 (Court
                   Staff, sbh). (Entered: 06/26/2024)
06/26/2024   256   Amended Minutes filed. See docket entry 264 AMENDED MINUTE SHEET for
                   Motion Hearing held before Judge Alan B. Johnson on 6/26/2024. Document
                   replaced with version reflecting witness testimony times and exhibits. (Court Staff,


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                   stmo) Modified link and text on 6/28/2024 (Court Staff, stmo). Modified text on
                   7/3/2024 (Court Staff, stmo). (Entered: 06/28/2024)
06/26/2024   264   AMENDED MINUTE SHEET for Motion Hearing held before Judge Alan B.
                   Johnson on 6/26/2024. Document replaced to correct listed counsel and exhibit.
                   (Court Staff, stmo) (Additional attachment(s) added on 7/9/2024: # 1 NON−PUBLIC
                   DOCUMENT − Hearing Exhibits) (Court Staff, sbh). (Entered: 07/03/2024)
06/27/2024   251   ORDER by the US Magistrate Judge Mark L. Carman granting 246 Motion to Strike
                   Amended Emergency Motion Affidavits of Michael Murphy and Emory Patterson
                   (Court Staff, sbh) Modified text on 6/28/2024 (Court Staff, sbh). (Entered:
                   06/27/2024)
06/28/2024   252   (TEXT−ONLY) ORDER Requiring Response BY JULY 2, 2024 to 238 MineOne
                   Defendants' MOTION for Extension of Time to Designate Expert Witnesses by the
                   US Magistrate Judge Mark L. Carman (Court Staff, sbh) (Entered: 06/28/2024)
06/28/2024   253   (TEXT−ONLY) NOTICE of Hearing on 214 Expedited MOTION to Compel
                   Discovery from MineOne Defendants VIA ZOOM −

                   NOTE:

                   1. This proceeding will be held via Zoom Video/Web Conferencing with all
                   participants appearing remotely; the Zoom ID and Passcode will be provided
                   separately to the participants email address of record.

                   2. Participants should connect to the proceeding 15 minutes prior to its scheduled
                   start time to allow for troubleshooting of any connectivity issues.

                   3. To ensure the record is of the best quality, participants are encouraged to utilize a
                   headset to reduce static and background noise. If not using a headset, participants
                   must ensure the audio feed at their location is muted when not speaking.

                   ***REMINDER: Recording or broadcasting of this hearing is prohibited***

                   Motion Hearing set for 7/11/2024 at 1:30 PM before US Magistrate Judge Mark
                   L. Carman. (Court Staff, sbh) (Entered: 06/28/2024)
06/28/2024   254   ORDER by the Honorable Alan B. Johnson granting 182 Emergency MOTION for
                   Protective Order with Prejudgment Writs of Attachment and Garnishment, 203
                   AMENDED Emergency MOTION for Prejudgment Writs of Attachment and
                   Garnishment. The Clerk of Court shall retain such surety bond and funds until further
                   order ofthe Court. (Court Staff, sbh) Modified text on 6/28/2024 (Court Staff, sbh).
                   (Entered: 06/28/2024)
06/28/2024   255   NOTICE of Deposit of Surety Bond by Plaintiff BCB Cheyenne LLC (Attachments: #
                   1 Exhibit A: Surety Bond) (Murray, Scott) (Entered: 06/28/2024)
07/01/2024   257   SURETY BOND RECEIVED in the amount of $100,000 by BCB Cheyenne LLC.
                   (Court Staff, stmo) Modified text on 7/1/2024 (Court Staff, stmo). (Entered:
                   07/01/2024)
07/01/2024   258   ORDER by the US Magistrate Judge Mark L. Carman granting 243 Motion to Strike
                   MineOne Defendants' Newly Listed Witness and Seventeen New Exhibits re 239
                   Third Amended Exhibit/Witness List (Court Staff, sbh) (Entered: 07/01/2024)

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07/01/2024   259   NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Motion Hearing Proceedings
                   − Emergency Motion for Protective Order with Prejudgment Writs of Attachment
                   and Garnishment held on 6/26/2024 before Judge Alan B. Johnson. To purchase a
                   copy of this transcript, please contact Court Reporter Melanie Sonntag, phone (307)
                   433−2169 or email MelanieSonntagCRR@gmail.com. A party must file a Notice of
                   Intent to Request Redaction within 7 calendar days. If a party fails to request
                   redaction, the unredacted transcript attached to this entry will be made available
                   electronically without redaction. Notice of Intent to Redact due 7/8/2024. Notice of
                   Redaction Request due 7/22/2024. Redacted Transcript Deadline set for 8/1/2024.
                   Release of Transcript Restriction set for 9/30/2024. (Humphrey−Sonntag, Melanie)
                   (Entered: 07/01/2024)
07/02/2024   260   PREJUDGMENT WRIT OF ATTACHMENT issued (Attachments: # 1 Addendum
                   A) (Court Staff, sbh) (Entered: 07/02/2024)
07/02/2024   261   WRIT OF GARNISHMENT issued (Attachments: # 1 Answer Form) (Court Staff,
                   sbh) (Entered: 07/02/2024)
07/02/2024   262   RESPONSE in Opposition re 238 MOTION for Extension of Time
                   (Non−Dispositive) requesting extension of Time to Designate Expert Witnesses filed
                   by Plaintiff BCB Cheyenne LLC. (Murray, Scott) (Entered: 07/02/2024)
07/03/2024   263   ORDER by the US Magistrate Judge Mark L. Carman granting 238 Motion for
                   Extension of Time. Expert Witness Designation−Defendant deadline 7/22/2024.
                   (Court Staff, sbh) (Entered: 07/03/2024)
07/03/2024   265   AFFIDAVIT of Service Upon MineOne Wyoming Data Center LLC re 261 Writ of
                   Garnishment, 260 Prejudgment Writ of Attachment filed by Plaintiff BCB Cheyenne
                   LLC. (Murphy, Patrick) Modified text on 7/3/2024 (Court Staff, sbh). (Entered:
                   07/03/2024)
07/03/2024   266   AFFIDAVIT of Service Upon Republic Title of Texas re 261 Writ of Garnishment,
                   260 Prejudgment Writ of Attachment filed by Plaintiff BCB Cheyenne LLC.
                   (Murphy, Patrick) Modified text on 7/3/2024 (Court Staff, sbh). (Entered:
                   07/03/2024)
07/08/2024   267   MOTION REFERRED TO Judge Stephanie A Hambrick NON−PUBLIC
                   DOCUMENT pursuant to the Judicial Conference Policy on Privacy and Public
                   Access − MOTION for Order Pursuant to Wyoming Statute § 1−15−104 re Bond
                   Amount and MOTION for Hearing on Their Objections to the Amount of the
                   Prejudgment Attachment Bond Set in the Court's June 28, 2024 Order filed by
                   Counter Claimants MineOne Partners LLC, MineOne Wyoming Data Center LLC,
                   Terra Crypto Inc, Defendants MineOne Partners LLC, MineOne Wyoming Data
                   Center LLC, Terra Crypto Inc. (Attachments: # 1 Exhibit 1 − Presidential Order, # 2
                   Exhibit 2 − MEC Invoice, # 3 Exhibit 3 − The MineOne Defendants Outstanding
                   Legal Invoices, # 4 Exhibit 4 − Bridge Loan, # 5 Exhibit 5 − Loan Agreements with
                   Five Lenders, # 6 Proposed Order) (Larson, Sean) Modified on 7/8/2024 (Court Staff,
                   ssw). Modified text on 7/8/2024 (Court Staff, stmo). Added MOTION for Hearing
                   and modified text on 7/9/2024 (Court Staff, sbh). (Entered: 07/08/2024)
07/08/2024         Motions No Longer Referred: 267 MOTION for Order Pursuant to Wyoming Statute
                   § 1−15−104 re Bond Amount and MOTION for Hearing on Their Objections to the
                   Amount of the Prejudgment Attachment Bond Set in the Court's June 28, 2024 Order
                   (Court Staff, ssw) Modified text on 7/8/2024 (Court Staff, stmo). Modified text on
                   7/9/2024 (Court Staff, sbh). (Entered: 07/08/2024)

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07/09/2024   268   RETURN of Service re 267 Motion upon BCB Cheyenne LLC d/b/a Bison
                   Blockchain on 07/08/2024 by Counter Claimants MineOne Partners LLC, MineOne
                   Wyoming Data Center LLC, Terra Crypto Inc, Defendants MineOne Partners LLC,
                   MineOne Wyoming Data Center LLC, Terra Crypto Inc (Larson, Sean) Modified link
                   and text on 7/9/2024 (Court Staff, stmo). Modified text on 7/10/2024 (Court Staff,
                   sbh). (Entered: 07/09/2024)
07/10/2024   269   MOTION REFERRED TO Judge Stephanie A Hambrick. NON−PUBLIC
                   DOCUMENT pursuant to the Judicial Conference Policy on Privacy and Public
                   Access − MOTION for Sanctions Against Defendant MineOne Wyoming Data Center
                   LLC filed by Plaintiff BCB Cheyenne LLC. (Attachments: # 1 Exhibit A, # 2 Exhibit
                   B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8
                   Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11 Exhibit K) (Murray, Scott) Modified
                   text on 7/11/2024 (Court Staff, sbh). (Entered: 07/10/2024)
07/11/2024   270   MINUTES for proceedings held before US Magistrate Judge Mark L. Carman:
                   Motion Hearing held on 7/11/2024 re 214 Motion to Compel Discovery (Court
                   Reporter: Melanie Sonntag) (Court Staff, sbh) (Entered: 07/11/2024)
07/12/2024   271   RETURN of Subpoena upon Andrew Astuno on June 24, 2024 by Counter Claimants
                   MineOne Partners LLC, MineOne Wyoming Data Center LLC, Terra Crypto Inc,
                   Defendants MineOne Partners LLC, MineOne Wyoming Data Center LLC, Terra
                   Crypto Inc (Hartman, Kari) (Entered: 07/12/2024)
07/12/2024   272   NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Motion Hearing Proceedings
                   − Motion to Compel held on 7/11/2024 before Judge Mark L. Carman. To purchase a
                   copy of this transcript, please contact Court Reporter Melanie Sonntag, phone (307)
                   433−2169 or email MelanieSonntagCRR@gmail.com. A party must file a Notice of
                   Intent to Request Redaction within 7 calendar days. If a party fails to request
                   redaction, the unredacted transcript attached to this entry will be made available
                   electronically without redaction. Notice of Intent to Redact due 7/19/2024. Notice of
                   Redaction Request due 8/2/2024. Redacted Transcript Deadline set for 8/12/2024.
                   Release of Transcript Restriction set for 10/10/2024. (Humphrey−Sonntag, Melanie)
                   (Entered: 07/12/2024)
07/12/2024   273   MOTION REFERRED TO Judge Stephanie A Hambrick Stipulated MOTION to
                   Amend 260 Prejudgment Writ of Attachment, 261 Writ of Garnishment filed by
                   Plaintiff BCB Cheyenne LLC. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3
                   Exhibit C) (Murray, Scott) Modified on 7/15/2024 (Court Staff, ssw). Modified links
                   and text on 7/15/2024 (Court Staff, sbh). (Entered: 07/12/2024)
07/12/2024   274   NOTICE of Intent to Serve Subpoena Duces Tecum Upon CleanSpark by Plaintiff
                   BCB Cheyenne LLC (Attachments: # 1 Subpoena Duces Tecum, # 2 Exhibit A to
                   Subpoena Duces Tecum) (Murphy, Patrick) (Attachment 1 flattened and replaced on
                   7/15/2024) (Court Staff, stmo). Modified text on 7/15/2024 (Court Staff, stmo).
                   (Entered: 07/12/2024)
07/15/2024         Motion No Longer Referred: 273 Stipulated MOTION to Amend 260 Prejudgment
                   Writ of Attachment, 261 Writ of Garnishment (Court Staff, ssw) Modified text on
                   7/15/2024 (Court Staff, sbh). (Entered: 07/15/2024)
07/15/2024   275   ORDER by the Honorable Alan B. Johnson granting 273 MOTION to Amend 260
                   Prejudgment Writ of Attachment, 261 Writ of Garnishment (Court Staff, sbh)
                   (Entered: 07/15/2024)


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07/15/2024   276   Amended PREJUDGMENT WRIT OF ATTACHMENT issued (Court Staff, sbh)
                   (Entered: 07/15/2024)
07/15/2024   277   Amended WRIT OF GARNISHMENT issued (Court Staff, sbh) (Entered:
                   07/15/2024)
07/17/2024   278   ORDER for Mediation by the US Magistrate Judge Mark L Carman. IN PERSON
                   Mediation set for 7/29/2024 10:00 AM in Cheyenne Courtroom No. 3 (Room No.
                   2104) before US Magistrate Judge Mark L Carman. Mediation set for 7/30/2024
                   09:00 AM in Cheyenne Courtroom No. 3 (Room No. 2104) before US Magistrate
                   Judge Mark L Carman. (Court Staff, sal) (Entered: 07/17/2024)
07/18/2024   279   (TEXT−ONLY) MINUTE ORDER by the US Magistrate Judge Mark L Carman.
                   The court has received a request for a discovery conference. There is no
                   representation of conferral. In addition, the court does not have availability to
                   conduct the conference on the time frame requested. This may be addressed after
                   conferral during the previously scheduled mediation. (Court Staff, sal) (Entered:
                   07/18/2024)
07/18/2024   280   ANSWER to 277 Amended Writ of Garnishment by Republic Title of Texas Inc
                   (Court Staff, sbh) (Additional attachment(s) added on 7/22/2024: # 1 Original) (Court
                   Staff, sbh). (Entered: 07/18/2024)
07/22/2024   281   MOTION REFERRED TO Judge Stephanie A Hambrick. MOTION for Leave to File
                   Excess Pages regarding Response in Opposition filed by Plaintiff BCB Cheyenne
                   LLC. (Attachments: # 1 Proposed Order)(Murphy, Patrick) (Entered: 07/22/2024)
07/22/2024   282   ORDER by the US Magistrate Judge Mark L Carman granting 281 Motion to File
                   Excess Pages. Plaintiff is granted leave to file its 15 page Response Brief. (Court
                   Staff, sal) (Entered: 07/22/2024)
07/22/2024   283   Designation of Expert Witnesses by Defendant Bitmain Technologies Georgia
                   Limited. (Lenhart, Khale) (Entered: 07/22/2024)
07/22/2024   284   NON−PUBLIC DOCUMENT pursuant to the Judicial Conference Policy on Privacy
                   and Public Access − EXHIBIT in reference to 283 Designation of Experts Expert
                   Report of Kenyon Hayward filed by Defendant Bitmain Technologies Georgia
                   Limited. (Lenhart, Khale) (Entered: 07/22/2024)
07/22/2024   285   Designation of Expert Witnesses by Defendants MineOne Partners LLC, MineOne
                   Wyoming Data Center LLC, Terra Crypto Inc. (Colbath, Paula) (Entered:
                   07/22/2024)
07/22/2024   286   NON−PUBLIC DOCUMENT pursuant to the Judicial Conference Policy on Privacy
                   and Public Access − RESPONSE in Opposition re 267 MOTION for Order Pursuant
                   to Wyoming Statute § 1−15−104 re Bond Amount and MOTION for Hearing on
                   Their Objections to the Amount of the Prejudgment Attachment Bond Set in the
                   Court's June 28, 2024 Order filed by Plaintiff BCB Cheyenne LLC. (Attachments: #
                   1 Exhibit A − Michael Murphy Affidavit, # 2 Exhibit A−1, # 3 Exhibit A−2, # 4
                   Exhibit A−3, # 5 Exhibit B − Andrew Astuno Declaration, # 6 Exhibit C − Houston
                   Aderhold, # 7 Exhibit D − Sean Murphy Affidavit, # 8 Exhibit D−A, # 9 Exhibit
                   D−B, # 10 Exhibit D−C, # 11 Exhibit D−D, # 12 Exhibit D−E, # 13 Exhibit D−F, #
                   14 Exhibit D−G, # 15 Exhibit D−H, # 16 Exhibit D−I) (Murray, Scott) (Attachment
                   14 removed blank page 58 and replaced on 7/23/2024) (Court Staff, stmo). Modified
                   text on 7/23/2024 (Court Staff, stmo). Modified text on 7/26/2024 (Court Staff, sbh).


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                   (Entered: 07/22/2024)
07/23/2024         FINANCIAL ENTRY: $100 Pro Hac Vice Fee Paid (Receipt #2−3373 for the total
                   amount of $200) On Behalf of Leily Lashkari and David Forrest. (Court Staff, stmo)
                   (Entered: 07/23/2024)
07/23/2024   287   MOTION REFERRED TO Judge Stephanie A Hambrick. MOTION for Leave to File
                   Excess Pages regarding Response Brief filed by Counter Claimants MineOne
                   Partners LLC, MineOne Wyoming Data Center LLC, Terra Crypto Inc, Defendants
                   MineOne Partners LLC, MineOne Wyoming Data Center LLC, Terra Crypto Inc.
                   (Attachments: # 1 Proposed Order)(Larson, Sean) (Entered: 07/23/2024)
07/24/2024   288   ORDER by the US Magistrate Judge Mark L Carman granting 287 Motion to File
                   Excess Pages. Defendants may have 15 pages for their Response Brief. (Court Staff,
                   sal) (Entered: 07/24/2024)
07/24/2024   289   NON−PUBLIC DOCUMENT pursuant to the Judicial Conference Policy on Privacy
                   and Public Access − MEMORANDUM in Opposition to 269 MOTION for Sanctions
                   Against Defendant MineOne Wyoming Data Center LLC filed by Defendant
                   MineOne Wyoming Data Center LLC. (Attachments: # 1 Exhibit 1 − Detention of
                   Property Receipt, # 2 Exhibit 2 − 7/11/2024 P. Colbath Response Letter, # 3 Exhibit
                   3 − 7/01/2024 P. Murphy Response Letter, # 4 Exhibit 4 − Plaintiff's Amended and
                   Second Supplemental Corporate Disclousre Statement, # 5 Exhibit 5 − 1/19/2023 Iris
                   Email to M. Murphy, # 6 Exhibit 6 − BitOrigin 6−K, # 7 Exhibit 7 − 7/11/2024 P.
                   Colbath Email, # 8 Exhibit 8 − 2/07/2024 P. Colbath Correspondence, # 9 Exhibit 9 −
                   7/18/2024 MineOne Defendants' Request for Informal Discovery Conference, # 10
                   Declaration of Stephen H. Cohen, # 11 Exhibit 1 − Statement of Dr. Jiaming Li, # 12
                   Declaration of Collin M. Bentley, # 13 Exhibit A − Bentley CV) (Colbath, Paula)
                   (Entered: 07/24/2024)
07/24/2024   290   MOTION REFERRED TO Judge Stephanie A Hambrick. REQUEST for Hearing re
                   269 Motion for Sanctions filed by Defendants MineOne Partners LLC, MineOne
                   Wyoming Data Center LLC, Terra Crypto Inc. (Larson, Sean) Modified text on
                   7/25/2024 (Court Staff, stmo). Modified link and text on 7/26/2024 (Court Staff,
                   stmo). (Entered: 07/24/2024)
07/25/2024   291   SECOND ORDER for Mediation by the US Magistrate Judge Mark L Carman.
                   IN−PERSON Mediation RESET from 7/29/24−7/30/24 to 8/6/24−8/8/24. See Order
                   for details. (Court Staff, sal) (Entered: 07/25/2024)
07/26/2024   292   MOTION REFERRED TO Judge Stephanie A Hambrick. MOTION to
                   Amend/Correct 276 Amended Prejudgment Writ of Attachment, 277 Amended Writ
                   of Garnishment filed by Plaintiff BCB Cheyenne LLC. (Attachments: # 1 Exhibit
                   Second Amended Writ of Attachment, # 2 Exhibit Second Amended Writ of
                   Garnishment, # 3 Proposed Order) (Murray, Scott) Modified text on 7/26/2024
                   (Court Staff, sbh). (Entered: 07/26/2024)
07/26/2024   293   ORDER by the Honorable Alan B. Johnson granting 292 MOTION to
                   Amend/Correct 276 Amended Prejudgment Writ of Attachment, 277 Amended Writ
                   of Garnishment (Court Staff, sbh) (Entered: 07/26/2024)
07/26/2024   294   Second Amended PREJUDGMENT WRIT OF ATTACHMENT issued (Court Staff,
                   sbh) (Entered: 07/26/2024)
07/26/2024   295


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                   Second Amended WRIT OF GARNISHMENT issued (Court Staff, sbh) (Entered:
                   07/26/2024)
07/26/2024   296   NOTICE of Rule 68 Offer of Judgment by Counter Claimants MineOne Partners
                   LLC, MineOne Wyoming Data Center LLC, Terra Crypto Inc, Defendants MineOne
                   Partners LLC, MineOne Wyoming Data Center LLC, Terra Crypto Inc (Larson,
                   Sean) (Entered: 07/26/2024)
07/26/2024   297   NOTICE OF APPEAL as to 254 Order on Motions: Emergency MOTION for
                   Protective Order with Prejudgment Writs of Attachment and Garnishment,
                   AMENDED Emergency MOTION for Prejudgment Writs of Attachment and
                   Garnishment filed by Defendant MineOne Wyoming Data Center LLC, Counter
                   Claimant MineOne Wyoming Data Center LLC. (Larson, Sean) Modified text on
                   7/26/2024 (Court Staff, sbh). (Entered: 07/26/2024)
07/26/2024   298   Preliminary Record of Appeal sent to USCA and counsel re 297 Notice of Appeal.
                   The procedures and appeals forms may be obtained from the U.S. Court of
                   Appeals website: www.ca10.uscourts.gov. (Attachments: # 1 Preliminary Record
                   on Appeal Including Notice of Appeal) (Court Staff, sbh) (Entered: 07/26/2024)
07/26/2024   299   USCA Appeal Fees received $ 605 receipt number 2−3387 re 297 Notice of Appeal
                   filed by MineOne Wyoming Data Center LLC (Court Staff, smxb) Modified text on
                   7/29/2024 (Court Staff, sbh). (Entered: 07/26/2024)
07/29/2024   300   Appeal Number 24−8048 received from USCA for 297 Notice of Appeal filed by
                   MineOne Wyoming Data Center LLC. Civil case docketed. Preliminary record filed.
                   DATE RECEIVED: 07/26/2024. Docketing statement, transcript order form, notice
                   of appearance and disclosure statement due 08/09/2024 for MineOne Wyoming Data
                   Center, LLC. Notice of appearance and disclosure statement due on 08/09/2024 for
                   BCB Cheyenne, LLC. [24−8048] (Court Staff, sbh) (Entered: 07/29/2024)
07/29/2024   301   NON−PUBLIC DOCUMENT pursuant to the Judicial Conference Policy on Privacy
                   and Public Access − REPLY to 286 Response in Opposition to Motion filed by
                   Defendants MineOne Partners LLC, MineOne Wyoming Data Center LLC, Terra
                   Crypto Inc. (Colbath, Paula) (Entered: 07/29/2024)
07/29/2024   302   NOTICE OF AMENDED APPEAL as to 297 Notice of Appeal (Attorney) by
                   Defendant MineOne Wyoming Data Center LLC, Counter Claimant MineOne
                   Wyoming Data Center LLC. (Larson, Sean) (Entered: 07/29/2024)




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ATTORNEYS FOR MINEONE WYOMING DATA CENTER, LLC
MINEONE PARTNERS LLC, TERRA CRYPTO, INC.

                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF WYOMING


BCB CHEYENNE LLC d/b/a BISON )
BLOCKCHAIN, a Wyoming limited liability )
company,                                       )
                                               )
                      Plaintiff,               ) Civil Action No. 23CV-79-ABJ
                                               )
v.                                             )
                                               )
MINEONE WYOMING DATA CENTER )
LLC, a Delaware limited liability company; )
MINEONE PARTNERS LLC, a Delaware )
limited liability company; TERRA CRYPTO )
INC., a Delaware corporation; BIT ORIGIN, )
LTD,      a     Cayman    Island   Company; )
SONICHASH LLC, a Delaware limited liability )
company;       BITMAIN      TECHNOLOGIES )
HOLDING COMPANY, a Cayman Island )
Company; BITMAIN TECHNOLOGIES )
GEORGIA LIMITED, a Georgia corporation; )
and JOHN DOES 1-20, related persons and )
companies who control or direct some or all of )
the named Defendants.                          )
                                               )
                      Defendants.              )




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                          AMENDED NOTICE OF APPEAL
_____________________________________________________________________________
       Pursuant to Rule 3 of the Federal Rules of Appellate Procedure, notice is hereby given that

Defendant MineOne Wyoming Data Center, LLC hereby appeals to the United States Court of

Appeals for the Tenth Circuit from the Order Granting Request for Issuance of Prejudgment Writs

of Attachment and Garnishment [ECF Doc. 254] dated and filed on June 28, 2024 (the “Order”)

only in so far as the Order granted the issuance of the prejudgment writs of attachment and

garnishment of Defendant MineOne Wyoming Data Center LLC’s assets attached thereunder. This

Order is appealable as the order is an interlocutory order of serious, irreparable consequence and

can only be effectively challenged by an immediate appeal. Ditucci v. Bowser, 985 F.3d 804, 809

(10th Cir. 2021); 28 USC §1292(a)(1).

       DATED this 29th day of July, 2024.
                                                    /s/ Sean Larson
                                                    Sean Larson Wyo. Bar #7-5112
                                                    Kari Hartman, Wyo. Bar #8-6507
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                                                    WYOMING DATA CENTER LLC, A DELAWARE
                                                    LIMITED LIABILITY COMPANY; MINEONE
                                                    PARTNERS LLC, A DELAWARE LIMITED LIABILITY
                                                    COMPANY; TERRA CRYPTO INC., A DELAWARE
                                                    CORPORATION

        DEFENDANT MINEONE WYOMING DATA CENTER, LLC’S AMENDED NOTICE OF APPEAL
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                                 CERTIFICATE OF SERVICE

       This is to certify that on the 29th day of July, 2024, a true and correct copy of the foregoing
was served upon counsel as follows:

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        DEFENDANT MINEONE WYOMING DATA CENTER, LLC’S AMENDED NOTICE OF APPEAL
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